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                              UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF DELAWARE
------------------------------------------------------------------ x
In re:                                                             :
QUORUM HEALTH CORPORATION, et al.,                                 : Case No. 20-10766 (BLS)
                                    Debtor.                        :
------------------------------------------------------------------ : Chapter 11
                                                                   :
DANIEL H. GOLDEN, AS LITIGATION TRUSTEE :
OF THE QHC LITIGATION TRUST, AND                                   x
WILMINGTON SAVINGS FUND SOCIETY, FSB, :
SOLELY IN ITS CAPACITY AS INDENTURE                                :
TRUSTEE,                                                           :
                                    Plaintiffs,                    : Adv. Pro. No. 21-51190 (BLS)
                  v.                                               :
                                                                   : BRIEF OF PLAINTIFFS DANIEL
COMMUNITY HEALTH SYSTEMS, INC.;                                    : H. GOLDEN, AS LITIGATION
CHS/COMMUNITY HEALTH SYSTEMS, INC.;                                : TRUSTEE OF THE QHC
REVENUE CYCLE SERVICE CENTER, LLC;                                 : LITIGATION TRUST, AND
CHSPSC, LLC; PROFESSIONAL ACCOUNT                                  : WILMINGTON SAVINGS FUND
SERVICES, INC.; PHYSICIAN PRACTICE                                 : SOCIETY, FSB, SOLELY IN ITS
SUPPORT, LLC; ELIGIBILITY SCREENING                                : CAPACITY AS INDENTURE
SERVICES, LLC; W. LARRY CASH; RACHEL                               : TRUSTEE, IN OPPOSITION TO
SEIFERT; ADAM FEINSTEIN; AND CREDIT                                : DEFENDANTS’ MOTIONS TO
SUISSE SECURITIES (USA) LLC,                                       : DISMISS
                                                                   :
                                    Defendants.                    :
------------------------------------------------------------------x

PACHULSKI STANG ZIEHL & JONES LLP                    QUINN EMANUEL URQUHART &
                                                     SULLIVAN, LLP
Laura Davis Jones (No. 2436)                         Andrew J. Rossman
Timothy P. Cairns (No. 4228)                         Deborah J. Newman
919 North Market Street 17th Fl.                     Victor Noskov
Wilmington, DE 19801                                 Jordan Harap
Telephone: (302) 778-6401                            Ben Odell
ljones@pszlaw.com                                    51 Madison Avenue, 22nd Floor
tcairns@pszjlaw.com                                  New York, New York 10010
                                                     Telephone: (212) 849-7000
                                                     andrewrossman@quinnemanuel.com
                                                     deborahnewman@quinnemanuel.com
                                                     victornoskov@quinnemanuel.com
                                                     jordanharap@quinnemanuel.com
Dated: April 1, 2022                                 benodell@quinnemanuel.com
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       Plaintiffs Daniel H. Golden (the “Trustee”), as Litigation Trustee of the QHC Litigation

Trust (the “Trust”), and Wilmington Savings Fund Society, FSB (“WSFS” or the “Indenture

Trustee”), solely in its capacity as the Indenture Trustee under that certain indenture

(the “Indenture”), dated as of April 22, 2016 for the unsecured 11.625% Senior Notes due April

2023 (the “Senior Notes”), submits this response to the Motion to Dismiss (the “CHS Motion” or

“CHS Mot.”) filed by Defendants Community Health Systems, Inc. (“CHS”), CHS/Community

Health Systems Inc. (“CHS-2”), Revenue Cycle Service Center, LLC, CHSPSC, LLC,

Professional Account Services, Inc., Physician Practice Support, LLC, Eligibility Screening

Services, LLC, W. Larry Cash, Rachel Seifert, and Adam Feinstein (collectively, the “CHS

Defendants”), and the Motion To Dismiss The Complaint For Failure To State A Claim (the “CS

Motion” or “CS Mot.” and, together with the CHS Motion, the “Motions”) filed by Credit Suisse

Securities (USA) LLC (“Credit Suisse”).

                                    SUMMARY OF ARGUMENT1

       The Complaint in this matter alleges in disturbing detail how a struggling CHS defrauded

QHC’s creditors for its own benefit and doomed QHC to fail. First, CHS created QHC as a

wholly-owned subsidiary. Second, CHS transferred to QHC some of its worst-performing

assets—including some generating negative annual EBITDA. Third, using its complete control

and domination over QHC, CHS prepared inflated and manipulated projections for the standalone

company—hiding QHC’s weak financial outlook from prospective lenders—to raise $1.28 billion

in debt, an amount QHC could not sustain, all so that CHS could pay itself a $1.21 billion dividend

to solve its own debt problem. Of the $1.28 billion in incurred obligations, QHC retained a mere

$14 million, and was spun off to fend for itself as a standalone business, with funded debt


1
       Capitalized terms not defined herein have the meanings ascribed to them later in this brief.



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obligations that it would never be able to pay upon maturity.

       To do this, CHS populated the QHC board with CHS loyalists who rubber-stamped the

incurrence of debt and payment of the dividend; leveraged its lucrative relationship with Credit

Suisse so that Credit Suisse would assist in raising the QHC debt even though it knew that the

projections defied reality and the debt it was working to raise would render QHC insolvent, unable

to pay its debts as they came due, and inadequately capitalized; further guaranteed QHC’s

inevitable failure by neglecting ordinary maintenance and improvements in the period leading up

to the Spin-Off and ensuring that anyone with a vested interest in QHC’s post-spin success would

be kept in the dark until after the Spin-Off; and burdened QHC with a series of onerous transition

services agreements that afforded CHS a steady stream of payments going forward. As anyone

with full knowledge of the facts could have predicted, QHC filed for bankruptcy as the Spin-Off

Debt maturities approached, leaving the holders of the Senior Notes that were fraudulently raised

to fund the Spin-Off Dividend with a recovery of only cents on the dollar.

       The facts alleged in the Complaint demonstrate paradigmatic cases of constructive and

intentional fraudulent transfer, illegal dividend, and unjust enrichment, and the exact type of

injustice and abuse of the corporate form that warrants alter ego liability. In response, Defendants

nominally invoke Rule 12(b)(6) of the Federal Rules of Civil Procedure, but barely even reference

the allegations in the Complaint, let alone accept them as being true. Instead, Defendants ask the

Court to simply ignore the Complaint’s allegations, and to accept their own version of events.

Defendants also ask the Court to apply out-of-Circuit, non-binding law that has been rejected by

courts within this Circuit and conflicts with Supreme Court and Third Circuit precedent. And

Defendants request that the Court apply broad interpretations of Section 546(e) of the Bankruptcy

Code and claim and issue preclusion that rely on materials outside of the Complaint, and conflict




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with well-settled law.

       As set forth in greater detail below and throughout this brief, each of Defendants’

arguments fails.

       1. Alter Ego Liability Against CHS on the Senior Note Debt. The CHS Defendants

assert that the Complaint fails to state a basis for alter ego liability because QHC operated

independently from CHS after the Spin-Off debt was incurred, and that the allegations regarding

the period before the Spin-Off “pertain any time a parent company spins off a subsidiary into a

new company.” CHS Mot. at 27-30. But the Complaint contains detailed allegations establishing

(1) that QHC and CHS operated as a single economic entity when the Spin-Off Debt was incurred,

and (2) the existence of an overall element of injustice and unfairness. On the first prong, the

Complaint alleges, among other things, that (1) QHC was insolvent and inadequately capitalized

from inception, (2) CHS’s only functioning officers and directors prior to the Spin-Off were CHS

employees who would either resign from QHC or retire shortly before or immediately after the

Spin-Off, and a QHC director who was appointed to the board days before the Spin-Off Dividend

was paid, and executed a written consent approving it within only an hour of receiving it and

without even seeing its final terms, and (3) prior to the Spin-Off, QHC existed only as a façade for

CHS, which masqueraded as QHC in order to falsely convince prospective lenders that QHC had

prepared reliable projections that accurately depicted the company’s prospects. On the second

prong, the Complaint is replete with allegations that CHS abused the corporate form to defraud

lenders into lending to QHC, and that the very creation of QHC, its incurrence of the Spin-Off

Debt, and the Spin-Off itself were part of a fraudulent scheme to transfer CHS’s own unsolvable

debt problem to QHC.

       2. Fraudulent Transfer. Defendants assert that the Complaint fails to state claims for




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intentional and constructive fraudulent transfer because it does not identify a triggering creditor.

And Credit Suisse argues further that the Complaint fails to allege that QHC did not receive

reasonably equivalent value in exchange for its payments to Credit Suisse (the “Transaction Fee”),

or any badges of fraud regarding those transfers. CHS Mot. at 10, n. 6; CS Mot. at 10-21. But the

Complaint identifies the Senior Noteholders—who were defrauded regarding QHC’s post-Spin-

Off financial condition, and thus could not have ratified the Spin-Off Dividend—as triggering

creditors. The Complaint also plainly alleges that QHC did not receive reasonably equivalent

value in exchange for its payments to Credit Suisse, which worked to raise the Spin-Off Debt even

though it knew QHC would not be able to repay it. Finally, the Complaint not only pleads multiple

badges of fraud—including insolvency, lack of reasonably equivalent value, a non-arms’ length

relationship between the transferor and transferee, and a contemporaneous incurrence of debt—it

also pleads direct evidence of an intent to hinder, delay, or defraud creditors by QHC (operating

under CHS’s domination and control), by alleging that it retained Credit Suisse because it knew

that Credit Suisse—with whom CHS had a lucrative historical relationship—would turn a blind

eye to CHS’s machinations and work to raise the Spin-Off Debt even though it understood the

detrimental impact it would have on QHC.

       3. Illegal Dividend and Aiding and Abetting Illegal Dividend. Defendants argue that

the Complaint fails to state a claim for illegal dividend under Delaware law because the Spin-Off

Dividend was not a dividend. CHS Mot. at 16-18; CS Mot. at 21. Additionally, Credit Suisse

argues that no claim for aiding and abetting illegal dividend exists, and that even if it did, the

Trustee has not alleged that Credit Suisse “knowingly and substantially” participated in the Spin-

Off Dividend. CS Mot. at 22-27. But the Complaint is replete with well-founded allegations

based on Defendants’ own internal documents that the Spin-Off Dividend was a dividend under




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Delaware law. As cases addressing this exact same issue have held, this disputed issue of fact

cannot be determined on a motion to dismiss. Further, Credit Suisse does not (and cannot) cite

any controlling authority for its contention that no claim for aiding and abetting an illegal dividend

exists, which conflicts with the Delaware Supreme Court’s holding that co-conspirators must be

jointly and severally liable for the acts of their confederates. Finally, Credit Suisse’s “knowing

and substantial” participation in the illegal dividend is amply demonstrated by the Trustee’s

allegations that Credit Suisse knew that QHC’s projections presented a fraudulently inflated

picture of QHC’s financial health, turned a blind eye to that fact to preserve its lucrative

relationship with CHS, worked to raise the Spin-Off Debt based on those fraudulent projections,

and sought to erase any record of its participation in the fraudulent scheme.

       4. Unjust Enrichment. Defendants argue that the Complaint’s unjust enrichment claim

is largely time-barred, and Credit Suisse argues further that QHC’s contractual relationship with

Credit Suisse precludes the claim. CHS Mot. at 24; CS Mot. at 28-30. But where, as here, a

complaint alleges fraudulent conduct that may warrant tolling of the statute of limitations,

resolution on a motion to dismiss is improper. Additionally, whether QHC’s relationship with

Credit Suisse was governed by a contract (which the Trustee is not in possession of) cannot be

determined at this juncture. And in any event, any such contract was negotiated solely by CHS,

was necessarily “unjust” to QHC, and should not be binding on QHC.

       5. Affirmative Defense of Section 546(e). Defendants argue that the Complaint’s claims

for fraudulent transfer, illegal dividend, and unjust enrichment are barred by Section 546(e),

because, they allege, (1) the contract governing the Spin-Off (the “SDA”), a notes purchase

agreement governing the sale of the initial Senior Notes, and CHS-2’s tender offer and open-

market purchases of debt funded by the Spin-Off Dividend, are “securities contracts” that the Spin-




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Off Dividend and Transaction Fee were “made in connection with,” and (2) CHS-2 and Credit

Suisse are “financial participants.” CHS Mot. at 9-16; CS Mot. at 7-10. But application of Section

546(e) is a “fact-based inquiry” that is properly considered on a motion to dismiss only if “the

defense is clearly established on the face of the complaint.” In re DBSI, Inc., 477 B.R. 504, 515

(Bankr. D. Del. 2012). That plainly is not the case here, as the Complaint alleges that the SDA is

not a securities contract; the notes purchase agreement, tender offer, and open market purchases

may not be considered on these Motions; and it cannot be determined from the face of the

Complaint whether CHS-2 is a financial participant. Further, the Spin-Off Dividend and the

Transaction Fee were not made “in connection with” the notes purchase agreement or CHS-2’s

tender offer or open market debt purchases, and the Spin-Off Dividend was paid to CHS subsidiary

BridgeCo, not CHS-2. Finally, even if section 546(e) applied (it does not), it would not preclude

the Complaint’s illegal dividend and unjust enrichment claims, which are grounded in actual fraud.

       6. Affirmative Defenses of Claim and Issue Preclusion. The CHS Defendants argue

that the Complaint’s illegal dividend and unjust enrichment claims are barred by claim and issue

preclusion due to an order issued in a prepetition arbitration between QHC and CHS. CHS Mot.

at 18-23. But in order for issue and claim preclusion to apply, there must be privity between the

party to the prior action and the party against whom the doctrines are being asserted. There

certainly is no privity between prepetition QHC and the Senior Noteholders that have assigned

their claims to the Trust. And the Third Circuit has held that where, as here, the interests of a

trustee in bankruptcy (or his or her assignee) diverge from those of a prepetition debtor, privity is

also lacking. Moreover, the claim and issue preclusion defense fails for the additional reasons that

the unjust enrichment claim had not accrued at the time of the arbitration, and the arbitration panel

did not decide a claim of illegal dividend.




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       7. Plaintiffs’ Ability to Assert Direct Claims Under State Law as the Assignee or

Representative of the Senior Noteholders. The CHS Defendants argue that the individual Senior

Noteholder claims brought by the Trustee and Indenture Trustee should be dismissed because they

are preempted by Section 546(e), Plaintiffs do not have standing to bring them until the Trustee

abandons them, and the Court does not have jurisdiction over them. CHS Mot. at 24-27. But

courts in this district have correctly held that under Supreme Court and Third Circuit law,

individual creditor claims are not preempted by section 546(e) where, as here, (1) the transaction

sought to be avoided poses no threat of ‘ripple effects’ in the relevant securities market; (2) the

transfer did not involve public securities, and (3) the transferees were corporate insiders that

allegedly acted in bad faith. Additionally, the Trustee and Indenture Trustee are pursuing claims

in their capacity as the Senior Noteholders’ assignee and representative, respectively, in the

alternative to the claims the Trustee is pursuing as the assignee of estate claims. If necessary, the

Trustee will abandon the estate claims in favor of the Senior Noteholder claims if the court finds

that the Trustee is precluded from pursuing the estate claims. Finally, where, as here, a litigation

trust is an important component of a plan, and the trust is tasked with investigating the claims at

issue, the bankruptcy court retains “related to” jurisdiction over claims prosecuted by the trust.

       For the foregoing reasons and those set forth below, Plaintiffs respectfully request that

Defendants’ Motions be denied in their entirety.

                  THE FACTUAL ALLEGATIONS IN THE COMPLAINT

       1.      Defendants’ “Statement of Facts” bears little resemblance to the factual allegations

in the Complaint. A summary of the Complaint’s allegations follows.

       2.      In 2015, CHS’s stock was in free-fall, due to its declining operating performance

and more than $17 billion in debt, $1.2 billion of which was coming due in 2016 and 2017. Compl.

¶¶ 1, 32. Without access to any traditional sources of capital to refinance its maturing debt, and


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facing rating downgrades and the prospects of its own bankruptcy (id. ¶¶ 1, 2, 33, 96), CHS devised

a scheme to raise $1.21 billion of debt while simultaneously divesting some of its worst-

performing assets (the “Spin-Off”). Id. ¶¶ 2, 36.

       3.      To effectuate the scheme, CHS created QHC as a wholly-owned subsidiary to

which it transferred those assets (the “QHC Assets”). CHS then proceeded to manipulate the

financial projections for a standalone QHC so that QHC could incur $1.28 billion in debt (the

“Spin-Off Debt”). Most of the proceeds of that debt would be paid to CHS (id. ¶¶ 3, 54-63), with

less than $14 million—about 1% of the total debt incurred—left for QHC. Compl. ¶ 10. The

victims of CHS’s scheme were QHC’s creditors—CHS and its shareholders benefitted because

CHS received a $1.21 billion dividend without incurring any corresponding repayment obligations

(id.. ¶¶ 3-4, 37), and QHC’s shares were simply distributed pro rata to CHS’s existing

shareholders. Id. ¶¶ 3, 37.

       4.      CHS’s fraud was brazen. To mislead the market into believing that the QHC Assets

could support $1.28 billion of debt, CHS: (1) constituted the initial QHC Board only with CHS

senior officials, who rubber-stamped the Spin-Off and Spin-Off Dividend without holding a single

in-person meeting, and who resigned from the QHC Board once the Spin-Off Dividend was

approved and paid (id. ¶¶ 4, 39-43, 82-86); (2) created fraudulently inflated projections for QHC

that significantly overstated projected revenues, margins, and the number and proceeds of asset

sales, while significantly understating costs, at a time when QHC’s actual operating results showed

that these projections defied reality (id. ¶¶ 5-6, 54); (3) systematically increased QHC’s projected

free cash flow when the credit markets began to tighten to offset the increasing cost of debt,

ultimately inflating that number by approximately $118 million (id. ¶¶ 5-6, 62); (4) retained Credit

Suisse to serve as QHC’s investment banker and leveraged its longstanding relationship with




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Credit Suisse so that Credit Suisse would turn a blind eye to the fact that the debt it was helping

CHS raise would render QHC insolvent, inadequately capitalized, and unable to pay its debts as

they came due (id. ¶¶ 7, 44); (5) appointed CHS executives to serve as the leaders of QHC post-

Spin-Off, and used its control over those executives prior to the Spin-Off to prevent them from

preparing to operate QHC as a standalone company or otherwise take steps that would reveal the

fraudulent nature of the transaction (id. ¶¶ 8, 78-79); (6) curtailed investments in the QHC Assets

in the months leading up to the Spin-Off, neglecting ordinary maintenance and improvements to

prioritize the hospitals that would remain with CHS post-spin (id. ¶¶ 9, 74-77); and (7) burdened

QHC with onerous transition services agreements that afforded CHS a steady stream of payments

regardless of the level of CHS’s performance under the agreements. Id. ¶¶ 9, 68-73.

       5.      Unsurprisingly, QHC fared poorly immediately after the Spin-Off was completed

in April 2016, as CHS had simply offloaded its own unsolvable debt problem onto QHC (and left

QHC with less than $14 million of cash on hand). Id. ¶ 10. QHC violated its debt covenants

almost immediately after the Spin-Off was consummated, and was forced to enter into costly

amendments to its term loan and dedicate virtually all of its paltry available cash flows to debt

repayment. Id. ¶¶ 10, 89-92. Although QHC was able to muddle along for several years through

expensive and onerous amendments to its credit agreements and long-dated maturities of its funded

debt, it succumbed to its inevitable fate on April 7, 2020, when the company filed for bankruptcy.

QHC’s CFO testified in the bankruptcy that the chapter 11 filing was “driven by the financial

obligations produced by the capital structure [QHC] has operated with since its inception, rather

than the underlying business performance.” Id. ¶¶ 11, 95.

       6.      On June 30, 2020, the Bankruptcy Court confirmed the Debtors’ Joint Prepackaged

Chapter 11 Plan of Reorganization (the “Plan”), which became effective on July 7, 2020. The




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Trust was established pursuant to the Plan that same day. The primary purpose of the Trust is to

prosecute or settle, on behalf of the Trust’s beneficiaries, all claims and causes of action of the

Debtors or their bankruptcy estates that have been transferred to the Trust. The claims transferred

to the Trust include (a) causes of action arising under or based on sections 542, 543, 544 through

548, 550, and 553 of the Bankruptcy Code, any state law fraudulent transfer, fraudulent

conveyance, and voidable transaction law, and any statute limiting or prohibiting transfers to

shareholders, (b) causes of action relating to fraudulent transfer, fraudulent conveyance, voidable

transaction, illegal dividend, breach of fiduciary duty, aiding and abetting breach of fiduciary duty,

alter ego, and unjust enrichment, and (c) causes of action assigned to the Trust by holders (the

“Senior Noteholders”) of over 90% Quorum Health Corporation’s unsecured 11.625% Senior

Notes due April 2023 (the “Senior Notes”). On October 25, 2021, the Trustee and WSFS, in its

capacity as the Indenture Trustee for the Senior Notes, filed the Complaint.2

                                              ARGUMENT

I.     STANDARD OF LAW

       7.      It is well settled that, “[i]n considering a Rule 12(b)(6) motion, courts must ‘accept

all factual allegations as true, construe the complaint in the light most favorable to the plaintiff,

and determine whether, under any reasonable reading of the complaint, the plaintiff may be entitled

to relief.’” Bruni v. City of Pittsburgh, 824 F.3d 353, 360 (3d Cir. 2016) (quoting Fowler v.

UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009)); see also Fagin v. Gilmartin, 432 F.3d 276,

284-85 (3d Cir. 2005) (in determining a motion to dismiss, the Court must “ensure its analysis

does not rely on any information derived from outside materials”); Jordan v. Fox, Rothschild,

O’Brien & Frankel, 20 F.3d 1250, 1261 (3d Cir. 1994) (in determining a motion to dismiss, the



2
       WSFS is not pursuing any claims against Credit Suisse.



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Court “looks only to the facts alleged in the complaint and its attachments without reference to

other parts of the record”).

         8.       Defendants flout this basic tenet of civil procedure, positing their own versions of

the facts to challenge the allegations in the Complaint throughout their Motions. For example, in

an effort to establish their own narrative regarding the purpose of the Spin-Off (CHS Mot. at 4),

and the reasons for QHC’s poor financial performance (id. at 6), Defendants cite to the same SEC

filings and press releases that CHS relied on to justify the misguided Spin-Off at the time of the

transaction. But the Complaint directly contradicts the self-serving statements contained in these

documents, and they may not be considered by the Court for the truth of the matter asserted on a

motion to dismiss. Lupin Atlantis Holdings v. Ranbaxy Lab’s, Ltd., 2011 WL 1540199, at *3 n.8

(E.D. Pa. Apr. 21, 2011) (“a district court, in ruling on a motion to dismiss … can only consider

materials outside the pleadings to establish the truth of their existence, not the truth of their

contents.”) (citing Oran v. Stafford, 226 F.3d 275, 289 (3d Cir. 2000)).3 These self-serving and

contested statements, which Plaintiffs will ultimately prove to be demonstrably false, should be


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          Adding insult to injury, Defendants also misrepresent several of the outside statements on which they
impermissibly rely. For example, the CHS Defendants assert that “a major international law firm, Orrick, Herrington
and Sutcliffe LLP,” concluded “there was no legal basis for legal action” against CHS,” and that “the analyzed Causes
of Action would lack a viable legal basis.” CHS Mot. at 1, 6, 9. But the Orrick investigation to which Defendants
refer (1) was undertaken on behalf of QHC shareholders, (2) assumed that prior to the Spin-Off, QHC was a solvent
company that owed fiduciary duties only to its sole shareholder CHS, and (3) did not consider creditor actions of the
nature asserted in this action. See Letter from QHC to R² Investments, LDC dated March 31, 2017 (“the assertion of
claims against CHS or its management in connection with the matters referred to in the Letter would not be in the best
interest of the corporation and its shareholders because such claims would lack a viable legal basis … The officers
and directors of CHS owed fiduciary duties only to CHS.”) (emphasis added). Additionally, QHC’s independent
directors stated that although the investigation “did not produce conclusive evidence of intentional misconduct or
fraud by CHS … the facts arising from the investigation suggest (at a minimum) several bases for questioning CHS’s
operational competence in connection with the planning and execution of the spin-off, and the formulation of financial
projections.” Id. (emphasis added). And—as CHS itself points out in its Motion— Orrick, acting on behalf of QHC,
later asserted many of the same allegations underlying Plaintiffs’ claims in this action. CHS Mot. 20-21, Ex. 10 at
65-85. Moreover, the CHS Defendants claim that “Quorum advised the Court that it ‘attributed no material value’ to
the claims asserted here,” but fail to disclose QHC’s further statements that the establishment of the Litigation Trust
was “an important consideration” for noteholders designed to “ensure that no claims or Causes of Action were
inadvertently forfeited before the QHC Litigation Trust had an opportunity to examine the history of the Debtors’
books and records with respect to such claims, since the Senior Noteholders did not have the opportunity to do so
prepetition.” D.I. 477 ¶ 33.



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disregarded.

II.      THE COMPLAINT STATES A CLAIM FOR BREACH OF CONTRACT BASED
         ON ALTER EGO LIABILITY45

         9.       The CHS Defendants’ argument that QHC was not CHS’s alter ego fails. As a

threshold matter, the CHS Defendants appear to confuse Plaintiffs’ position as to the relevant

period during which QHC and CHS were alter egos, arguing that “following the spin-off, Quorum

autonomously managed the hospitals in its portfolio, negotiated debt instruments, divested assets,

and eventually filed for bankruptcy—all without involvement by its former parent.” CHS Mot. at

28. But the legally relevant time period for the Court’s analysis of the alter-ego relationship is at

the time the Spin-Off Debt was incurred. That, of course, is the time period to which Plaintiffs’

allegations relate. And those allegations are plentiful, more than satisfying the two-pronged alter-

ego test applied under Delaware law. See, e.g., Trevino v. Merscorp, Inc., 583 F. Supp. 2d 521,

528 (D. Del. 2008) (explaining that to pierce the corporate veil and state a claim based on an alter

ego theory, a party must show (1) that the corporation and its shareholders operated as a single

economic entity, and (2) that an overall element of injustice or unfairness was present).

         A.       Prong #1: From QHC’s Creation Until The Spin-Off, QHC And CHS
                  Operated As A Single Economic Entity

         10.      Delaware courts apply a multi-factor test to determine whether a corporation and

its shareholder operated as a single economic entity, examining whether: the corporation was

adequately capitalized/solvent; corporate formalities were observed (e.g., whether dividends were

paid, corporate records kept, or officers and directors functioned properly); the controlling

shareholder siphoned company funds; and the corporation functioned as merely a facade for the


4
        The Trustee brings the alter ego claims in its capacity as the assignee of estate claims and, in the alternative,
along with WSFS, as the representative or assignee of the Senior Noteholders.
5
         CHS, as used in this section, refers to both CHS and CHS-2.



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controlling shareholder. See, e.g., Fid. Nat’l Info. Services, Inc. v. Plano Encryption Techs., LLC,

2016 WL 1650763, at *4 (D. Del. Apr. 25, 2016), report and recommendation adopted, 2016 WL

11695472 (D. Del. June 23, 2016). No single factor is dispositive or necessary, but some

combination of factors must be present. E.I. du Pont de Nemours and Co. v. Agfa-Gavaert NV,

335 F. Supp. 3d 657, 675 (D. Del. 2018), appeal dismissed sub nom. E.I. du Pont de Nemours and

Co. v. Agfa-Gevaert N.V., 2018 WL 7360650 (Fed. Cir. Nov. 27, 2018). Here, the Complaint’s

allegations overwhelmingly show that CHS ignored corporate formalities and exercised complete

control over QHC to consummate the Spin-Off Dividend that would render QHC insolvent and

undercapitalized. These allegations are more than enough to satisfy Delaware’s multi-factor test.

               1.      Solvency/Capitalization: From Get-Go, QHC Was Insolvent, Inadequately
                       Capitalized, And Could Not Pay Its Debts As They Came Due

       11.     From the very moment QHC was created in July 2015, its assets (38 CHS Hospitals

located primarily in rural areas with populations of 50,000 or less and a small consulting business

that regularly incurred significant litigation expense) were underperforming in relation to CHS’s

other hospitals. Compl. ¶ 36. The assets were geographically disbursed, making them difficult to

integrate from day one, and some even generated negative annual EBITDA. Id. ¶¶ 36, 95. Despite

this tenuous operational foundation and the QHC Assets’ poor financial performance, CHS was

determined to solve its own debt problems by effectuating the Spin-Off scheme. The central piece

of that scheme, of course, was to force QHC to raise $1.28 billion in debt—an amount it could not

support—and use the funds for its own benefit by forcing QHC to issue a $1.21 billion dividend

to CHS. Id. ¶ 37. Incredibly, of the $1.28 billion raised, QHC was permitted to retain only $14

million in cash on hand (approximately 1% of debt incurred), but was left with the entirety of the

obligation.

       12.     Not surprisingly, the amount of debt was not based on QHC’s needs, but rather was



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designed for one thing only: to offload CHS’s debt problem onto QHC, with no regard for QHC’s

financial well-being. Id. ¶¶ 49-53. And because QHC could not, as a standalone entity, service

this amount of debt (id. ¶¶ 50-51), CHS fraudulently inflated QHC’s projections to dupe lenders

into lending the funds anyway. The ways in which CHS inflated the projections and falsified

financials are described at length in the Complaint. See id. ¶¶ 54-63.

       13.     CHS did not stop there. In addition to burdening QHC with unsustainable debt (id.

¶¶ 64-65), CHS also took steps that further undermined QHC’s ability to succeed as a standalone

company, including causing QHC to enter into onerous and one-sided transition services

agreement (the “TSAs”) (id. ¶¶ 68-73), neglecting the QHC Assets prior to the Spin-Off (id. ¶¶

74-77), forbidding QHC’s future management from preparing QHC to operate as a standalone

entity (id. ¶¶ 78-79), and shifting CHS’s other costs onto QHC as part of the Spin-Off (id. ¶¶ 80-

81). All of this guaranteed QHC’s demise from the get-go, as confirmed by QHC’s Executive

Vice President (“EVP”) and Chief Financial Officer (“CFO”), Alfred Lumsdaine, who explained

in his first day declaration that QHC’s April 2020 bankruptcy filing was “driven by the financial

obligations produced by the capital structure it has operated since its inception, rather than the

underlying business performance.” Id. ¶ 95 (emphasis added). He further explained that “the

assets [QHC] received in the Spin-off were not initially set up as an integrated, stand-alone

enterprise and presented certain day-one integration challenges, including addressing significant

geographic dispersion that resulted in a lack of scale in key markets.” Id. ¶ 95.

       14.     The CHS Defendants half-heartedly dispute QHC’s insolvency by pointing out that

it “operated independently for nearly four years before filing its bankruptcy petition.” CHS Mot.

at 29. But while it is true that QHC was ultimately able to avoid bankruptcy until April 2020, that

was only because QHC’s debt was not scheduled to mature until 2023, and it was able to stave off




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a default only by resorting to expensive and value-destructive amendments to its debt documents.

Those amendments further exacerbated QHC’s financial troubles by introducing onerous new

covenants, reducing QHC’s available borrowing capacity, and causing QHC to spend millions of

dollars of its limited remaining capital to pay bankers and other professionals. See Compl. ¶¶ 87-

92. Moreover, the terms QHC was forced to accept for the amendments forced QHC to abandon

necessary growth initiatives in lieu of an aggressive divestiture program and other cost reductions

that were required to pay down the refinanced (even more expensive) debt. See id. ¶¶ 92, 96

(QHC’s “debt-service obligations diverted management’s attention and strained the ability to

reinvest in [QHC’s] hospitals.”). That QHC was able to “trudge along” (id. ¶ 93) from 2016 to

2020 does not relieve CHS from liability at the time the debt was incurred, in the same way that a

ship maker whose ship is designed to make it out of the harbor before sinking in the open seas

cannot escape liability for faulty engineering.

       15.     Given that the Complaint’s allegations make it clear that QHC was doomed from

the get-go, and undercapitalized and insolvent as a result of the $1.28 billion in debt it incurred for

CHS’s benefit, the insolvency/capitalization factors weigh heavily in favor of a finding of alter

ego here.

               2.      Corporate Formalities: CHS And QHC Did Not Observe Corporate
                       Formalities

       16.     The next factor—whether CHS and QHC observed corporate formalities—also

weighs heavily against dismissal. For starters, CHS populated the initial QHC Board of Directors

entirely with CHS senior officials, who approved the Spin-Off Dividend without holding a single

in-person meeting. Compl. ¶¶ 4, 82-86. Indeed, the allegations are clear that prior to the Spin-

Off, QHC had no functioning officers or directors other than CHS officials who resigned

immediately before or after the Spin-Off Dividend was paid and then continued working for CHS,



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except for (1) Defendant Feinstein, who was appointed to the QHC board days before the Spin-

Off Dividend, and executed a written consent approving it only an hour after receiving it and

without even seeing its final terms, and (2) a single CHS officer who retired from QHC shortly

after the Spin-Off. See Compl. ¶¶ 39-40, 42-43, 82-85.

       17.     CHS also operated the QHC Assets within their existing divisions at CHS, and

QHC’s initial directors and officers served as rubber stamps for CHS’s scheme. Id. ¶ 40. And

CHS appointed QHC officers who were CHS employees, who had no knowledge of the

projections, and who were instructed by CHS that they could not act on QHC’s behalf until the

Spin-Off was complete. Id. ¶¶ 42-43.

               3.     Siphoning of Funds: The Spin-Off Was Designed To Siphon Funds From
                      QHC For The Sole Benefit Of CHS

       18.     CHS also does not dispute that it siphoned funds from QHC. Indeed, the entire

Spin-Off scheme was designed for this purpose. As described above and in the Complaint, CHS

officers took myriad steps to manipulate QHC’s projections to falsely suggest that QHC could

support the level of debt necessary to pay the Spin-Off Dividend. Id. ¶¶ 54-63. And once the

funds were obtained, most of the money was transferred to CHS for its own benefit, leaving QHC

with a mere $14 million (out of a total $1.28 billion in incurred debt). Moreover, CHS also took

other steps to leverage QHC for its own benefit, including causing QHC to enter into onerous

TSAs, neglecting QHC’s assets prior to the Spin-Off, forbidding QHC’s future management from

preparing it to act as a stand-alone company, and transferring costs onto QHC. Id. ¶¶ 67-81. In

sum, CHS took advantage of its position of control to extract as much value from QHC as it could,

all to the detriment of QHC’s defrauded creditors.

               4.     Corporation As Façade: QHC Was Created For The Sole Purpose Of
                      Effectuating The Spin-Off Scheme To Pay Down CHS’s Debt

       19.     Finally, the allegations make clear that the entire purpose of the Spin-Off—and


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indeed the creation of QHC—was for QHC to borrow $1.28 billion dollars and transfer most of it

to CHS, rendering QHC insolvent, inadequately capitalized, and unable to pay its own debts as

they came due. Here again, other than to dispute QHC’s insolvency, the CHS Motion is silent.

But the allegations in the Complaint adequately plead that QHC was created solely for CHS’s

benefit: to separate CHS’s bad assets from good and to alleviate CHS’s unbearable debt load. In

pursuing this goal, CHS abused the corporate form for its own benefit, including by continuing to

operate the QHC Assets within its existing divisions at CHS, with QHC’s initial directors and

officers serving as rubber stamps for CHS’s scheme (Compl. ¶ 40), instructing QHC’s appointed

officers that they could not act on QHC’s behalf until after the Spin-Off (id. ¶¶ 42-43), and

directing QHC’s officers to attend meetings with prospective lenders and rating agencies so that it

would appear—falsely—that there were QHC fiduciaries involved in the preparation of QHC’s

projections, when in reality, the QHC officers played no role in preparing the QHC projections,

which were prepared solely by CHS, and had no knowledge of the assumptions on which they

were based (id. ¶¶ 8, 42). There is therefore no doubt that this factor weighs against dismissal.

       B.      Prong #2: The Spin-Off Scheme Was Based On CHS’s Fraudulently Inflated
               Projections And Left QHC’s Creditors Holding The Bag

       20.     As to prong 2—that an overall element of injustice or unfairness was present—the

Complaint is once again on all fours. Indeed, the Complaint is replete with allegations that the

very creation of QHC, incurrence of the Spin-Off Debt, and the Spin-Off itself were designed to

improperly rid CHS of unwanted, underperforming assets and to manipulate the corporate form to

free CHS from over a billion dollars of its own debt—to the detriment of QHC’s creditors. What

is more, this scheme could be effectuated only by fraudulently inflating CHS’s financials, as

detailed in the Complaint. See id. ¶¶ 54-63. The CHS Defendants’ assertion that these allegations

involve “basic facts that pertain any time a parent company spins off a subsidiary into a new



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company” (CHS Mot. at 30) is preposterous on its face. The contention that it is typical for a

parent company to create bogus financial statements to disguise its subsidiary’s true financial

health, so that the subsidiary can raise debt that it cannot sustain in order to pay a dividend to the

parent, simply is not credible and should not be given any weight by this Court.

       21.     To the contrary, CHS’s creation of a new entity to carry out the fraudulent scheme

alleged in the Complaint is a quintessential example of abuse of the corporate form to perpetrate

injustice, unfairness, and fraud that warrants alter ego liability. Courts within and outside of this

district, applying Delaware law, have consistently denied motions to dismiss under similar

circumstances. For example, in Blair v. Infineon Techs. AG, 720 F. Supp. 2d 462, 473 (D. Del.

2010), the court held that defendants’ use of the corporate form to “misdirect[] funds, exercise[]

crippling control, and purposely siphon[] profits from the [subsidiary company] in favor of

propping up [the parent]” satisfied the element of fraud or injustice under the alter ego test. Blair

v. Infineon Techs. AG, 720 F. Supp. 2d 462, 473 (D. Del. 2010) (noting that the “nature and extent

of the dominion and control exercised by the [parent] defendants over the [subsidiaries] is a

question of fact, not subject to resolution on a motion to dismiss”).

       22.     Likewise, in U.S. Bank v. Verizon, a case governed by Delaware law involving facts

remarkably similar to those here (a spinoff of Idearc from its former parent Verizon), the Northern

District of Texas likewise denied defendant’s motion to dismiss. There, Idearc’s litigation trustee

alleged that the challenged spin-off transaction was “a scheme devised by Verizon” to extract $9.5

billion of value by appointing a Verizon officer as the sole board member of Idearc, fraudulently

inflating Idearc’s balance sheet, stripping it of cash, and burdening it with massive debt that

rendered it insolvent. U.S. Bank Nat. Ass’n v. Verizon Commc’ns Inc., 2012 WL 3100778, at *1

(N.D. Tex. 2012). The Court held that these facts indicated that “up and until the spin-off, Idearc




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and Verizon were operated as a single economic entity,” which was sufficient to state an alter ego

claim. Id. at *16.

        23.     The same is true here. At bottom, “[t]he alter ego doctrine is used to pierce the

corporate veil when a corporation has created a ‘sham entity designed to defraud investors and

creditors.’” In re Verizon Ins. Coverage Appeals, 222 A.3d 566, 577 (Del. 2019). Given the

allegations in the Complaint, which detail substantial abuses of corporate form and complete

domination of decision making by CHS, and ultimately expose a fraud carried out by CHS for its

own benefit, the alter ego claim cannot be dismissed on the pleadings. See Stardyne, Inc. v.

N.L.R.B., 41 F.3d 141, 151 (3d Cir. 1994) (“The determination whether two companies are alter

egos is a question of fact.”).

III.    THE COMPLAINT STATES CLAIMS FOR AVOIDANCE

        A.      The Complaint Adequately Alleges A Triggering Creditor

        24.     Defendants’ assertion that the Trustee’s claims must be dismissed because the

Trustee fails to plead the existence of a triggering creditor is without merit. CS Mot. at 11, CHS

Mot. at 10 n.6. Defendants contend that the “only creditors identified in the Complaint” are the

Senior Noteholders, and that the Senior Noteholders ratified the Spin-Off Dividend “because they

became creditors knowing full-well that the proceeds of the note offering would be transferred to

CHS.” Id. As the Third Circuit has held, however, “there can be no ratification unless the ratifying

[actors] have knowledge of all material facts connected with the transaction.” Renault v. L. N.

Renault & Sons, 188 F.2d 317, 321 n.11 (3d Cir. 1951). The Complaint is replete with allegations

that the Senior Noteholders were given inflated projections that presented an inaccurate picture of

QHC’s financial health. They thus did not have “knowledge of all material facts connected with”

the Spin-Off Dividend. See, e.g., Compl. ¶¶ 54-66 (alleging that if the QHC Projections provided

to the noteholders “had not been fraudulently inflated, they would have revealed that the Spin-Off


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Dividend would leave QHC balance sheet insolvent, inadequately capitalized, and unable to pay

its debts as they came due”); In re Physiotherapy Holdings Inc., 2016 WL 3611831, at *12 (Bankr.

D. Del. June 20, 2016) (“Ratification ‘is the act of knowingly giving sanction or affirmance to an

act which would otherwise be unauthorized and not binding.’”) (emphasis added) (quoting 57 N.Y.

Jur. 2d Estoppel, Ratification and Waiver § 87 (2007))).

        25.     The Physiotherapy case is instructive. Like Defendants here, the Physiotherapy

defendants argued that “because the Secured Noteholders were aware that the proceeds from the

issuance would be used to cash out Selling Shareholders, they are estopped from seeking to avoid

the very transfer they allegedly approved.” 2016 WL 3611831, at *12. Rejecting the argument,

the Court held that “the use of proceeds is simply one piece of the entire fraud alleged in the

complaint,” that a “borrower’s financial health may be the most material fact” regarding a bond

issuance, and that the allegations were sufficient to allege that “Senior Noteholders may have been

misled into lending money to a company whose financial health was poorer than represented.” Id.

Finding that “intent is the central element of ratification,” and that it was “far from certain that the

Senior Noteholders intended to extend credit to an insolvent company,” the court concluded that

“a finding of ratification is inappropriate at this juncture.” Id.

        26.     Here, as in Physiotherapy, the fact that the Senior Note debt proceeds were to be

used to pay CHS was “simply one piece” of information regarding the Spin-Off Debt. QHC’s

financial condition, and concomitant ability to service the Senior Notes, was likely “most material”

to the Senior Noteholders, and was materially misrepresented to them. See, e.g., Compl. ¶¶ 54-

66. Without accurate information regarding QHC’s financial condition, the Senior Noteholders

could not possibly have had “knowledge of all material facts connected with the” Spin-Off

Dividend, and could not have ratified the transfer. See Renault, 188 F.2d at 321 n.11.




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        27.      The cases cited by Defendants are inapposite and unpersuasive. See CS Mot. at 9-

12. In Refco, the court found that the creditor at issue was not a triggering creditor because—

unlike the Senior Noteholders here—it was a “material participant[]” that was “heavily involved

in structuring” the allegedly fraudulent transaction. In re Refco, Inc. Sec. Litig., 2009 WL

7242548, at *10-11 (S.D.N.Y. Nov. 13, 2009), report and recommendation adopted sub nom.,

2010 WL 5129072 (S.D.N.Y. Jan. 12, 2010) (“Refco is not a legitimate creditor because it was an

active party to the fraud alleged in the complaint.”) (emphasis added). Lyondell did not involve

allegations that creditors were misled by inflated financial statements as the Senior Noteholders

were here. In re Lyondell Chem. Co., 503 B.R. 348, 385 (Bankr. S.D.N.Y. 2014), as corrected

(Jan. 16, 2014), and abrogated by In re Trib. Co. Fraudulent Conv. Litig., 818 F.3d 98 (2d Cir.

2016). In HSBC, the court found that the disqualified creditor “did in fact have ‘full knowledge’

of the facts surrounding the allegedly fraudulent transfer.’” HSBC Bank USA Nat’l Ass’n v.

Adelphia Commc’ns Corp., 2009 WL 385474, at *7 (W.D.N.Y. Feb. 12, 2009). And to the extent

that the summary judgment decision from the District Court for the Northern District of Texas,

U.S. Bank Nat. Ass’n v. Verizon Comm’s Inc., 2012 WL 3100778, at *412 (N.D. Tex. 2012), may

be interpreted to hold that a creditor may ratify a transfer even where it is defrauded regarding the

transferor’s post-transfer creditworthiness and financial condition, the decision is inconsistent with

binding precedent of this Circuit, the weight of authority on this issue, and the equitable principles

underlying the Bankruptcy Code (11 U.S.C. 101 et seq. (the “Code”)), and should not be followed.6

        B.       The Complaint Adequately Alleges That QHC Did Not Receive Reasonably


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         Dismissal would be unwarranted here even if the Senior Noteholders did not qualify as triggering creditors
(and they do). “When analyzing the sufficiency of a complaint for purposes of Rule 12(b)(6), courts do not generally
require a trustee to plead the existence of an unsecured creditor by name, although the trustee must ultimately prove
such a creditor exists.” In re APF CO., 274 B.R. 634, 639 (Bankr. D. Del. 2001). Given QHC’s liabilities both at the
time of the Spin-Off Dividend and the commencement of the chapter 11 proceedings, the Trustee would be able to
establish the existence of triggering creditors other than the Senior Noteholders if necessary.



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                  Equivalent Value For The Payments To Credit Suisse

       28.        Credit Suisse’s argument that the Trustee’s constructive fraudulent transfer claim

must be dismissed because the Complaint fails to adequately allege that QHC did not receive

reasonably equivalent value in exchange for the Transaction Fee also fails. Credit Suisse’s

argument is primarily that the Complaint (1) purportedly concedes that Credit Suisse provided

investment banking services to QHC, including with regard to its projections, and (2) does not

allege that Credit Suisse “failed to do anything it was asked” or “charged anything other than

arms’-length, market rates for its services,” or that “the desired financing was not raised on behalf

of QHC.” CS Mot. at 14. But Credit Suisse misses the point entirely; it ignores the Complaint’s

numerous allegations that Credit Suisse performed investment banking services for CHS’s benefit

rather than QHC’s, and actually harmed QHC, by enabling CHS to burden QHC with an

unsustainable debt load for the sole purpose of funding the Spin-Off Dividend.

       29.        For example, the Complaint alleges that:

                 “In order to further cement CHS’s absolute control over the Spin-Off
                  process, CHS tapped Credit Suisse to nominally serve as QHC’s investment
                  in connection with the Spin-Off Debt. Credit Suisse had served as CHS’s
                  investment banker in the past, and hoped that its lucrative relationship with
                  CHS would continue into the future.” Compl. ¶ 44.

                 “CHS understood and expected that Credit Suisse would turn a blind eye to
                  the machinations necessary to effectuate the Spin-Off, including
                  fraudulently inflating the QHC Projections on which the Spin-Off was
                  premised and burdening QHC with a debt load it could not possibly bear.
                  And . . . that is exactly what it did.” Id.

                 “On a February 3, 2016 investor call, an analyst remarked that in light of
                  the deteriorating credit markets and increased cost of debt, he expected
                  QHC’s post-spin debt-to-EBITDA ratio would need to be 4.0x, rather than
                  the 5.0x target envisioned by CHS. Credit Suisse reached the same
                  conclusion. This led to a series of heated conversations between CHS and
                  Credit Suisse, in which Cash steadfastly refused to change course or reduce
                  the amount of the Spin-Off Dividend.” Id. ¶ 51.

                 “CHS … fraudulently manipulat[ed] the QHC Projections so that they


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     falsely suggested that QHC could support the predetermined level of debt
     necessary to pay the Spin-Off Dividend. CHS inflated QHC’s post-Spin-
     Off cash flows by systematically inflating revenues, margins, and asset sales
     and understating costs, at a time when QHC’s actual results of operations
     and other external events showed that these projections defied reality.
     Credit Suisse witnessed these strategic manipulations, and knew that they
     were motivated by CHS’s desire to consummate the Spin-Off rather than
     any realistic expectations of QHC’s future performance.” Id. ¶ 54

    “The QHC Projections were managed by Lee Fleck, a director of corporate
     finance at CHS, under Cash’s control and supervision … Fleck has said that
     he had “never been pressured in a transaction like this before,” and that he
     was so uncomfortable with Cash’s directives that he began keeping a log of
     them in order to have a written record of the changes he was being instructed
     to make … When the Credit Suisse bankers became aware of the log, they
     asked Fleck to delete all references therein to Credit Suisse. Id. ¶ 55.

    “QHC’s adjusted EBITDA margin for 2016 was increased from 11.9% in
     the version of the projections dated August 11, 2015 to 12.2% in the final
     March 9, 2016 version of the QHC Projections. Likewise, 2017 adjusted
     EBITDA was increased from 12.3% in the August 11 model to 15.0% in
     the final version. By comparison, from 2013-2015, QHC’s adjusted
     EBITDA margin averaged 11.5%. In light of the significant industry and
     operational headwinds and the dissynergies that the CHS entities and Credit
     Suisse knew would result from the Spin-Off, these manipulations were
     entirely divorced from business reality and operated only to defraud QHC’s
     creditors.” Id. ¶ 56

    “Ultimately, between November 2015 and the final version of the QHC
     Projections dated March 16, 2016, total projected free cash flow was
     increased by approximately $118 million. This was enough to offset the
     increased interest expenses and to address Credit Suisse’s concern that CHS
     needed to present stronger QHC cash flows in order to raise the $1.2 billion
     of Spin-Off Debt.” Id. ¶ 62

    “The final version of the QHC Projections predicted that QHC’s adjusted
     EBTIDA for 2016 would be $277 million, and that adjusted EBITDA for
     2017 would equal $318 million. No reasonable person with knowledge of
     the QHC’s Assets’ actual performance could have believed that QHC could
     achieve these projections, and both CHS and Credit Suisse knew that they
     were unattainable. Moreover, if the QHC Projections had not been
     fraudulently inflated, they would have revealed that the Spin Off Dividend
     would leave QHC balance sheet insolvent, inadequately capitalized, and
     unable to pay its debts as they came due. As the CHS entities and Credit
     Suisse could easily have predicted prior to the Spin-Off, QHC’s actual
     results for 2016 and 2017 fell far short of these benchmarks, with adjusted
     EBITDA of only $163 million for 2016, and only $141.8 million for 2017.”


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                    Id. ¶ 63.

                   “Given the declining state of the hospital industry at this time, prospective
                    lenders were reluctant to lend to QHC even after CHS and Credit Suisse
                    provided them with the fraudulent QHC Projections. Accordingly, CHS and
                    Credit Suisse resorted to attracting lenders by offering high interest rates
                    and discounts to par.” Id. ¶ 65.

Credit Suisse’s assertion that the Complaint fails to allege that QHC received reasonably

equivalent value in exchange for the Transaction Fee cannot be squared with these allegations.

         30.        The allegations also demonstrate that Credit Suisse failed to act in good faith, which

is another basis for establishing lack of reasonably equivalent value. See In re Cornerstone Homes,

Inc., 567 B.R. 37, 52 (Bankr. W.D.N.Y. 2017) (denying motion to dismiss based on failure to plead

reasonably equivalent value because “the Trustee has adequately alleged the bank’s lack of good

faith” by alleging that the defendant banks “knew or should have known” that the debtor “was

insolvent,” had an “unsustainable” business model, and was operating a Ponzi scheme, and that

“private investors would be left wholly unsecured”); Buchwald Capital Advs. LLC v. Schoen (In

re OPP Liq. Co., Inc.), 2022 WL 774063, at *13 (Bankr. D. Del. March 14, 2022) (denying motion

to dismiss on issue of reasonable equivalent value because “[t]he allegations of the Amended

Complaint that the Defendants failed to act in good faith or to perform their essential fiduciary

duties in conducting and monitoring the Debtor’s operations and expansion do raise a question as

to the value of the services the Defendants provided to the Debtor”).7

         31.        The Millenium Lab case on which Credit Suisse relies so heavily underscores the



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         As a legal matter, Credit Suisse’s contention that “payment of a valid contractual debt ‘presumptively
constitutes reasonably equivalent value’” also fails to warrant dismissal of the Trustee’s claim. Additionally, the
Trustee is not in possession of any contract between QHC and Credit Suisse and does not know that any such contract
exists. And even if it does exist, it certainly may not be considered at this juncture and would likewise be avoidable
by QHC because, among other things, it would have been negotiated solely by CHS for its own benefit. To the extent
Credit Suisse is in possession of an agreement between Credit Suisse and QHC to provide investment banking services,
the Trustee requests that that Credit Suisse provide it to the Trustee and reserves all rights to amend the Complaint to
seek to avoid it.



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viability of the Trustee’s claims. CS Mot. at 12, n. 10, 16 (citing In re Millenium Lab Holdings,

2019 WL 1005657, at *5 (Bankr. D. Del Feb. 28, 2019). The plaintiff in Millenium Lab, the trustee

of a creditors’ trust, sought to avoid as intentional and constructive fraudulent transfers the debtor’s

payments of fees to banks that had facilitated the debtor’s borrowing of $1.775 billion, $1.2 billion

of which was used to pay dividends and/or bonuses to the debtor’s controlling persons. Millenium

Lab, 2019 WL 1005657, at *5. The defendants moved to dismiss the constructive fraudulent

transfer claim, arguing—as Credit Suisse does here—that the Complaint failed to allege that the

fees were not market value, and improperly collapsed the fees with the payment of the dividend to

the controlling persons. Id. at *5-6.

       32.      The court rejected these arguments. First, the court held that under Third Circuit

precedent, “payment to a bank of a market-based fee is not equivalent to a receipt of value,” and

that the plaintiff had adequately placed the defendants on notice of his theory that the debtor had

not received reasonably equivalent value for the fees because “at the end of the day, the

[transaction] provided no value to [the debtor].” Id. at *6. Second, the court noted that under

Third Circuit precedent, where “a series of transactions’ were all part of ‘one integrated

transaction,’” a court may look beyond the exchange of funds in one transaction and consider the

aggregate transaction.” Id. at *6 (citing United States v. Tabor Court Realty Corp., 803 F.2d 1288,

1302 (3d Cir. 1986)) (emphasis in original). The court explained that in determining whether

collapsing applies, courts look to the “substance rather than to the form of the transactions” and

“focus[] on the overall financial consequences of the transactions and how they impact creditors,”

and consider: (1) “whether all of the parties involved had knowledge of the multiple transactions;”

(2) “whether each transaction would have occurred on its own;” and (3) “whether each transaction

was dependent or conditioned on other transactions.” Id. at *6. Based on these factors, the court




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concluded that “[a]ssuming the need to use the collapsing doctrine, Trustee has pled sufficient

facts to demonstrate that incurring the obligation to pay and/or payment of the Fee may be a proper

transfer to collapse with the loan of funds and the payment of the Dividend.” Id. at *7.8

         33.      Here, as in Millenium Labs, that the Trustee does not allege that QHC paid Credit

Suisse an above-market rate has no bearing on the sufficiency of the Trustee’s allegations, which

demonstrate that “at the end of the day,” QHC received no value whatsoever from Credit Suisse’s

investment banking services, because the Spin-Off Debt provided no value to QHC. Further,

although the collapsing doctrine is not necessary for the Court to find for the Trustee on this point,

its application here certainly would be warranted, given that Credit Suisse understood that virtually

all proceeds raised would be immediately sent to CHS and render QHC insolvent; and that the

only purpose of raising the Spin-Off Debt (and by extension, paying the Transaction Fee) was

CHS’s desire to receive the Spin-Off Dividend.

         C.       The Complaint Adequately Pleads A Claim For Intentional Fraudulent
                  Transfer Against Credit Suisse

         34.      Credit Suisse argues that the Trustee’s intentional fraudulent transfer claims against

it should be dismissed because the Complaint “pleads none” of the badges of fraud courts typically

consider. CS Mot. at 3 (emphasis in original). This argument fails.

         35.      As an initial matter, courts consider “badges of fraud” where the plaintiff is unable

to provide direct evidence of fraudulent intent. See, e.g., In re Charys Holding Company, Inc.,


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          Credit Suisse’s assertion that Millenium Labs is distinguishable because “the transferee … had not
contributed any assets (like the hospital assets that CHS contributed here) to the transferor in exchange for the
transfer,” and “the Millenium court focused on allegations of self-dealing” by the debtor’s controlling person “that
“are entirely absent here” is significantly misplaced. CS Mot. at 16, n.12. First, the Complaint alleges that the value
of the QHC Assets were outweighed by the Spin-Off Debt, which left QHC insolvent, inadequately capitalized, and
balance sheet insolvent notwithstanding the contribution of the assets. Compl. ¶¶ 10, 63, 102. Second, the Complaint
alleges that the precise purpose of the Spin-Off was CHS’s self-dealing, as CHS needed the Spin-Off Dividend to
prevent a ratings a downgrade. Id. ¶¶ 33-37, 52. And Credit Suisse’s suggestion that Judge Silverstein somehow
endorsed defendants’ contention that fraudulent transfer actions “should not be brought for the benefit of parties to
the challenged transactions” is belied by the actual decision. CS Mot. at 12 n.10.



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2010 WL 2774852, at *5 (Bankr. D. Del. Jul. 14, 2010) (“In the absence of direct evidence, courts

often rely on ‘badges of fraud’ as circumstantial evidence of actual fraudulent intent.”) (emphasis

added). Here, the Complaint includes allegations that go beyond the badges of fraud and will

ultimately be supported by direct evidence of CHS’s intentional scheme to defraud creditors into

lending over a billion dollars to an insolvent QHC and to then extract those funds from QHC to

CHS. Among other things, the Complaint alleges that:

                 CHS’s CFO (and a pre-Spin-Off QHC director) directed a CHS employee to
                  manipulate financial projections in ways that made him highly uncomfortable so
                  that CHS could ensure that QHC would be able to raise the Spin-Off Debt even
                  though the debt would render QHC insolvent, unable to pay its debts, and
                  inadequately capitalized (Compl. ¶¶ 6, 52-55); and

                 CHS, in control of QHC in all respects, prevented QHC’s incoming management
                  from participating in planning, budgeting, forecasting, staffing, or management of
                  the QHC Assets prior to the Spin-Off in order to conceal the fraudulent scheme
                  from individuals who had a vested interest in QHC’s post-Spin-Off success(id. §
                  IV.G.3);

       36.        Next, Credit Suisse appears to argue that evidence of fraudulent intent must be

linked to transfers made to Credit Suisse particularly, as if intent to undertake the fraudulent

scheme to receive the Spin-Off Dividend somehow could be separated from intent to pay the

investment bank that was hired to facilitate the scheme. CS Mot. at 17. Such additional allegations

are not required for intentional fraudulent transfer claims to survive motion to dismiss.

Nevertheless, the Trustee pleads them as well, including as follows:

                 “In order to further cement CHS’s absolute control over the Spin-off, CHS tapped
                  Credit Suisse to nominally serve as QHC’s investment banker in connection with
                  the Spin-Off Debt. Credit Suisse, motivated by its lucrative relationship with CHS,
                  then assisted CHS in the fraudulent machinations necessary to raise the funds
                  needed to pay the Spin-Off Dividend, notwithstanding Credit Suisse’s knowledge
                  that QHC would not be able to sustain that level of debt.” (Compl. ¶ 7);

                 “Credit Suisse had served as CHS’s investment banker in the past, and hoped that
                  its lucrative relationship with CHS would continue into the future. Thus, CHS
                  understood and expected that Credit Suisse would turn a blind eye to the
                  machinations necessary to effectuate the Spin-Off, including fraudulently inflating


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                  the QHC Projections on which the Spin-Off was premised and burdening QHC with
                  a debt load that it could not possibly bear.” (id. ¶ 44);

                 After Credit Suisse reached same conclusion as other market participants, that the
                  debt load was unbearable, Cash and Credit Suisse had “heated conversations … in
                  which Cash steadfastly refused to change course or reduce the amount of the Spin-
                  Off Dividend.” (id. ¶ 51); and

                  Credit Suisse was in fact aware of the fraudulent nature of the scheme and the
                  CHS’s fraudulent intent, as evidenced by, inter alia, Credit Suisse’s lead
                  investment banker describing the Spin-Off as the most difficult deal of his career,
                  and Credit Suisse’s bankers requesting that Fleck delete all references to Credit
                  Suisse in his log (id. ¶¶ 53-55).

       37.        These allegations leave no doubt that the payments to Credit Suisse and releases

and indemnification protections that CHS included in the SDA to ensure that QHC rather than

CHS or Credit Suisse bore the repercussions of CHS’s and Credit Suisse’s conduct were intended

to hinder, delay, and defraud QHC’s creditors.

       38.        Finally, while the allegations of CHS’s fraudulent intent in connection with the

transfers to Credit Suisse alleviates the need to allege badges of fraud, the Trustee nevertheless

pleads multiple such badges, which are alone enough to survive a motion to dismiss here. In

particular, the Trustee alleges: (1) the transferor’s insolvency (see, e.g., id. ¶¶ 54-66, 87-96); (2)

lack of reasonably equivalent value—or, for that matter, any value—given that Credit Suisse’s

facilitation of the Spin-Off doomed QHC to fail (see, e.g., id.. ¶ 190); (3) a non-arm’s length

relationship between the transferor and transferee (i.e., CHS and QHC, which was beholden to it)

(id. ¶¶ 7, 44, 54); and (4) that the payments to Credit Suisse occurred contemporaneously with the

incurrence of a substantial debt (i.e., the Spin-Off Debt). Id. ¶¶ 26, 66. The intentional fraudulent

transfer claim against Credit Suisse must survive.

IV.    THE COMPLAINT STATES A CLAIM FOR ILLEGAL DIVIDEND

       39.        Defendants assert that the illegal dividend claim must be dismissed because the

Spin-Off Dividend was not a “dividend” under Delaware law. The argument is that the SDA—


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which was drafted solely by CHS— states the distribution was made “in partial consideration” for

the transferred assets. CHS Mot. at 17; see also CS Mot. at 21. But the Complaint is replete with

well-founded allegations that the language in the SDA is self-serving window dressing that does

not accurately represent the true nature of the Spin-Off Dividend and is contradicted by CHS’s and

QHC’s internal documents and SEC filings. See Compl. ¶ 3 (the Spin-Off Dividend was paid to

CHS as a “tax-free dividend”), ¶ 52 (the amount of the Spin-Off Dividend was determined solely

by the amount necessary for CHS to “reduce its own debt” to avoid “a ratings downgrade within

the next 6 months”), ¶ 165 (“The Spin-Off Dividend was repeatedly referred to as a ‘dividend’ or

‘distribution’ by CHS, including in the press release announcing the Spin-Off, QHC’s preliminary

and final offering memoranda for its Senior Notes, and in CHS’s annual SEC filings”), ¶ 99 (“QHC

did not receive any value for the Spin-Off Dividend, which was a gratuitous transfer from QHC to

BridgeCo that conferred no value on QHC”), ¶ 100 (“The Spin-Off Dividend was not paid in

exchange for the QHC Assets, which CHS repeatedly referred to as being ‘contributed’ by CHS

to QHC.”), see also CHS Mot. Ex. 12 (CHS 2016 10-K) at 74 (“The increase in cash provided by

investing activities for the year ended December 31, 2016 was primarily due to the distribution

received from QHC of $1.2 billion as part of the spin-off transaction….”), 102 (listing

“Distribution from Quorum Health Corporation” of $1.219 billion). 9 Thus, whether the Spin-Off


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          These allegations are well supported. For example, the corporate authorizations treat the spin-off of CHS’s
assets to QHC as a contribution, not a sale, and the Spin-Off Dividend as a cash distribution. See Action by Written
Consent In Lieu Of A Meeting Of The Board Of Directors Of Quorum Health Corporation dated April 13, 2016 (“CHS
Intends to contribute the assets and operations of 38 of its hospitals and the operations of Quorum Health Resources,
LLC, an indirect wholly-owned subsidiary of CHS to the Company”) (emphasis added); Action by Written Consent
In Lieu Of A Meeting Of The Board Of Directors Of Quorum Health Corporation dated April 29, 2016 (under
“Acceptance of Contribution from CHS-QHC Bridge Company, LLC”: “WHEREAS, the board of directors of Bridge
Co. has approved a capital contribution of (i) all, if any, of Bridge Co.’s stock, membership interests, partnership
interests or other evidence of equity ownership in the legal entities listed on Exhibit A (the ‘Contribution Subsidiaries’)
and (ii) certain other assets previously owned by CHS/CHS, that Bridge Co. received from CHS/CHS on the date
hereof (the ‘Assets’), to the capital of the Company (collectively, the ‘Contribution’)”), (under “Distribution of Cash
Proceeds to CHS-QHC Bridge Company, LLC”: “WHEREAS, the Company desires to distribute to Bridge Co.
approximately $1,217,336,000 of cash proceeds (the ‘Cash Proceeds’) from the sale of QHC Notes and borrowings
under the QHC Credit Agreement (the ‘Cash Distribution’), (WHEREAS, the Board has determined that it is in the


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Dividend was a dividend is a disputed issue of fact that cannot be resolved on a motion to dismiss.

        40.      Additionally, Defendants’ position is expressly contradicted by two cases

addressing the exact same question presented here, each of which elevate substance over form and

adopt a much broader interpretation of “dividend” than Defendants urge. See U.S. Bank Ass’n v.

Verizon Comm’s Inc., 817 F.Supp. 2d 934, 945-46 (2011); MC Asset Recovery, LLC v. S. Co.,

2009 WL 10666059, at *12-13 (N.D. Ga. Feb. 5, 2009). In Verizon, defendants asserted that an

unlawful dividend claim under Delaware law based on Idearc’s transfers to Verizon in Verizon’s

spin-off of Idearc should be dismissed because the distribution was made “in exchange for the

contribution from Verizon to Idearc of the directories business.” 817 F.Supp.2d at 945. The

plaintiff argued in response that the spin-off transaction could not “be a purchase [by Idearc] of

[Verizon’s] directory business because the transaction was structured as a tax free reorganization,

not a purchase and sale, and the amount Verizon took from Idearc grossly exceeded the value of

the business,” and “urge[d] the court to look to the ‘substance of these transactions.” Id. at 945-

46. The court denied the motion to dismiss, noting that plaintiff’s position was “amply supported

by persuasive authority,” and that most courts have “adopted a more expansive view of what

constitutes a ‘dividend’ under Delaware’s unlawful dividend statute” than the interpretation urged

by defendants. The court concluded that “the expansive view of ‘dividend’ propounded by [the

plaintiff] [was] the correct one.” Id. at 946.

        41.      Similarly, in MC Asset Recovery, the defendant sought summary judgment

dismissing the plaintiff’s claims for illegal dividend based on transfers made in connection with a



best interests of the Company to make the Cash Distribution, and WHEREAS, the Company will obtain benefits from
the Cash Distribution, which benefits are necessary and convenient to the conduct, promotion and attainment of the
business of the Company. NOW, THEREFORE BE IT RESOLVED, that the Cash Distribution is hereby
authorized.”) (emphasis added). There is no indication whatsoever in these corporate authorizations that the Spin-
Off Dividend was being paid as consideration for the QHC Assets.



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debtor’s spin-off from its corporate parent, on the ground that the transfers “[were] made in

exchange for valuable consideration and d[id] not constitute ‘dividends’ under Delaware law.”

2009 WL 10666059, at *12. The plaintiff argued in response that the transfers were “in substance,

dividends, because there was no real consideration to support the transfers.” Id. The court denied

the motion, noting that “[i]n determining whether a particular transaction constitutes a ‘dividend’

to shareholders, Delaware courts have placed an emphasis on substance over form and focused on

the ‘economic reality of the transactions,’” and holding that although the transfers “were not

‘designated as dividends by the [debtor’s] board,’ there [was] sufficient evidence to indicate the

presence of a factual dispute” regarding “the consideration received by [the debtor] in exchange

for the transfers” and “whether [the transfers] were illegal dividends.” Id. at 13.

       42.     As in Verizon and MC Asset Recovery, the allegations here are clear that the Spin-

Off Dividend was a dividend. The sole case on which Defendants rely for their assertion to the

contrary—Quadrant Structured Prods. Co., Ltd, v. Vertin,—is inapposite. The issue there was

whether the plaintiff could pursue an illegal dividend claim based on allegedly excessive

compensation paid to a shareholder under a services agreement and a licensing agreement. 102

A.3d 155, 169, 201-202 (Del. Ch. Ct. 2014); CHS Mot. at 17. By contrast here, there is no

allegation that the Spin-Off Dividend constituted compensation, and the Complaint expressly

alleges that both CHS and QHC acknowledged, publicly and internally, that the $1.21 billion

transfer to CHS was a dividend. Finally, CHS’s factual assertions that the Spin-Off Dividend “was

not a ‘return on [CHSI’s] investment’” and “Quorum’s Board never declared a dividend” are

subject to material dispute, and inappropriate for consideration on a motion to dismiss.10




10
       As noted supra ¶ 39, the QHC Board of Directors did in fact authorize the Spin-Off Dividend as a dividend.


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V.      THE COMPLAINT STATES A CLAIM FOR UNJUST ENRICHMENT

        43.       Each of Defendants’ arguments to dismiss the unjust enrichment claims also fails.

First, CHS and Credit Suisse both argue that portions of the unjust enrichment claims are outside

the applicable statute of limitations.11 This argument fails because limitations periods are tolled

where fraudulent activity prevented the injury from being discovered,12 and the Complaint alleges

that CHS and Credit Suisse participated in a fraud against QHC’s creditors (see Compl. ¶¶ 7, 44,

54, 60, 65) and took steps to conceal the fraudulent nature of their projections and QHC’s

disastrous financial condition. See id. ¶¶ 79, 106. While it is true that QHC discovered certain of

the facts regarding the fraud prior to the prepetition arbitration between CHS and QHC (the

“Arbitration”), the Arbitration was confidential, and thus QHC’s creditors remained unaware of

the fraudulent conduct. Where, as here, the applicability of the “discovery rule” or another tolling

doctrine presents questions of fact, resolution on motion to dismiss is improper. See TL of Fla.,

Inc. v. Terex Corp., 54 F. Supp. 3d 320, 329 (D. Del. 2014) (“Frequently, determining whether the

statute of limitations has been tolled pursuant to the ‘discovery rule’ or due to fraudulent

concealment requires a factual inquiry not amenable to resolution on a motion to dismiss.”).

Additionally, creditors’ claims did not accrue until QHC defaulted on its debt, which happened

after the Arbitration concluded.

        44.       Second, Credit Suisse argues that the existence of a contract dooms the unjust

enrichment claims. First, the Trustee is not in possession of any contract between QHC and Credit

Suisse and is not aware whether such a contract exists—and if there is a contract, whether QHC



11
         CHS argues that unjust enrichment is time-barred as to the Distribution, Transaction Fee, and TSA payments
preceding April 7, 2017. CHS Mot. at 24. Credit Suisse argues that the portion of the claim seeking to invalidate the
Transaction Fee is time-barred (Credit Suisse concedes that the unjust enrichment claims relating to both amendments
are timely). CS Mot. at 28 & n.18.
12
        See Vichi v. Koninklijke Philips Elecs., N.V., 85 A.3d 725, 789 (Del. Ch. 2014).



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or CHS is the counterparty. To the extent QHC is not a party to any such contract, Credit Suisse’s

argument falls flat before leaving the gate. And to the extent there is a contract that QHC was

forced to sign at CHS’s direction, it cannot preclude the unjust enrichment claim here since QHC

did not negotiate (and could not have negotiated) any such contract, any such contract was entered

into at CHS’s direction with the intent to perpetrate a fraud, and any such contract did not provide

any value whatsoever to QHC. See supra footnote 7 (reserving rights to amend Complaint to seek

avoidance of any contract identified by Credit Suisse). Indeed, Delaware and other courts allow

unjust enrichment claims to survive even where there is a contract “when the validity of the

contract is in doubt or uncertain.” Tolliver v. Christina Sch. Dist., 564 F. Supp. 2d 312, 315 (D.

Del. 2008); Refco Grp. Ltd., LLC v. Cantor Fitzgerald, L.P., 2014 WL 2610608, at *30 (S.D.N.Y.

June 10, 2014) (“The mere existence of a contract, however, is insufficient to preclude an unjust

enrichment claim, since a defendant’s misconduct may enrich that defendant in the form of an

unjust contract.”). For example, in McPadden v. Sidhu, the court declined to dismiss an unjust

enrichment claim because the plaintiff alleged “that it is the [contract], itself, that is the unjust

enrichment; that is, defendants’ manipulative conduct … unjustly enriched him in the form of the

contract” itself. 964 A.2d 1262, 1276 (Del. Ch. 2008). Similarly, in LVI Grp. Invs., LLC v. NCM

Grp. Holdings, LLC, the court concluded that “the existence of [a] contract does not bar [an] unjust

enrichment claim where the plaintiffs alleged that they “would never have entered into the

agreement but for the Defendants' falsification of [] financial statements” and the “agreement itself

arose from the Defendants’ fraud.” 2018 WL 1559936, at *17 (Del. Ch. Mar. 28, 2018) (“[T]he

contract itself is not necessarily the measure of the plaintiff's right where the claim is premised on

an allegation that the contract arose from wrongdoing (such as breach of fiduciary duty or fraud)

or mistake and the defendant has been unjustly enriched by the benefits flowing from the




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contract.”) (emphasis added). The allegations in the Complaint that CHS and Credit Suisse entered

into a scheme to defraud QHC are sufficient to permit a claim for unjust enrichment even if QHC

(at the direction of CHS) entered into a contract with Credit Suisse for the provision of services.13

        45.       Third, Credit Suisse argues that the Complaint fails to allege the “unjust” nature of

Credit Suisse’s receipt of its fees, because Credit Suisse performed services. This argument again

does not engage with the Complaint’s well-pled allegations that the services were requested by

and performed for the benefit of CHS. In other words, in return for tens of millions of dollars in

present and future fees, Credit Suisse participated with its longtime client, CHS, in perpetrating a

fraud against QHC and its creditors.              The cases Credit Suisse cites, which stand for the

unremarkable proposition that a cause of action for unjust enrichment cannot lie against a party

who performed exactly as it promised, are inapposite.

VI.     THE COMPLAINT STATES A CLAIM FOR AIDING AND ABETTING ILLEGAL
        DIVIDEND

        46.      Credit Suisse’s arguments that the Trustee’s claim for aiding and abetting illegal

dividend should be dismissed are without merit. First, Credit Suisse argues that no cause of action

for aiding and abetting illegal dividend exists. CS Mot. at 22; see also CHS Mot. at 18 n.12. But

Credit Suisse does not (and cannot) cite any controlling authority for this contention. And the

Delaware Supreme Court has explained that “[i]t is a fundamental principle of our jurisprudence

that co-conspirators are jointly and severally liable for the acts of their confederates committed in

furtherance of the conspiracy.” Laventhol, Krekstein, Horwath & Horwath v. Tuckman, 372 A.2d


13
         See, e.g., Compl. ¶¶ 154-59 (outlining CHS’s scheme to use QHC to perpetrate fraud on QHC’s creditors), ¶
156 (“CHS hired Credit Suisse as “QHC’s investment banker because CHS knew that Credit Suisse was beholden to
CHS, and would turn a willfully blind eye to the fraudulently inflated QHC Projections….”), ¶ 215 (“Credit Suisse
knowingly assisted CHS, Cash, Seifert, and Feinstein in causing QHC to make the unlawful Spin-Off Dividend by,
among other things, fraudulently inflating the QHC Projections, presenting the fraudulently inflated projections to
prospective lenders and ratings agencies, and taking other steps to ensure that QHC would be able to pay the Spin-Off
Dividend.”).



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168, 170 (Del. 1976). There is no reasoned basis why this holding would not operate to render

parties who aided and abetted the issuance of an illegal dividend jointly and severally liable.

       47.     The non-binding decisions cited by Credit Suisse do not help its cause. The court

in In re Magnesium, which held only that a claim for aiding and abetting an illegal dividend may

not be maintained against a corporation’s professionals or officers, simply did not grapple with the

Delaware Supreme Court’s holding that liability shall be imposed upon joint conspirators. 399

B.R. 722, 776-78 (Bankr. S.D.N.Y. 2009). And AT&T Corp. v. Walker did not decide the question

of whether a claim for aiding and abetting an illegal dividend may be maintained, as the plaintiff

there voluntarily consented to dismissal of the claim after the court found the he had stated a claim

for primary liability against the defendant shareholder. 2006 WL 3019980 (W.D. Wash. Oct. 17,

2006) (“The Trustee does not oppose dismissal of this claim, and Defendants’ motion will,

therefore, be granted as to this claim.”).

       48.     Second, Credit Suisse’s assertion that “the Complaint fails to plead the required

facts showing that Credit Suisse ‘knowingly and substantially participated’ in the alleged

violation” cannot be reconciled with the Complaint’s allegations, as set forth above, see supra at

¶¶ 29, 36: The Complaint’s allegations show that Credit Suisse knew that the projections had been

manipulated so to present a fraudulently inflated picture of QHC’s financial health, turned a blind

eye to those manipulations to preserve its lucrative relationship with CHS, assisted CHS in raising

the Spin-Off Debt based on those fraudulent projections so that the Spin-Off Dividend could be

paid, and sought to erase any record of its participation in the fraudulent scheme. The Complaint

thus adequately alleges that Credit Suisse “knowingly and substantially participated” in the Spin-

Off scheme.

VII.   SECTION 546(E) DOES NOT APPLY TO THIS ACTION

       A.      Section 546(e) Of The Bankruptcy Code Does Not Apply To The Claims


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               Against CHS and CHS-2

       49.     The CHS Defendants argue that the claims predicated on the Spin-Off Dividend are

barred by section 546(e) of the Bankruptcy Code (“Section 546(e)”), which, as relevant here,

prohibits a trustee from avoiding a transfer “made by or to (or for the benefit of) a … financial

institution [or] financial participant … in connection with a securities contract.” 11 U.S.C. §

546(e). The CHS Defendants’ arguments are premised on their assertions that (1) the SDA, an

alleged “purchase agreement between Quorum and certain initial purchasers” of the Senior Notes,

and alleged “CHSI Tender Offer & Open Market Repurchases” are “securities contracts,” (2) the

Spin-Off Dividend was made “in connection with” these alleged securities contracts, and (3) CHS-

2 is a “financial participants.” CHS Mot. at 11-13. Application of Section 546(e), however, is a

“fact-based inquiry” that is properly considered on a motion to dismiss only if “the defense is

clearly established on the face of the complaint.” In re DBSI, Inc., 477 B.R. 504, 515 (Bankr. D.

Del. 2012). Here, the CHS Defendants’ Section 546(e) arguments must be rejected, as the defense

not only is indiscernible from the face of the Complaint, it also is expressly contradicted by the

Complaint’s allegations.

               1.      The SDA Is Not A Securities Contract

       50.     The Bankruptcy Code defines the term “securities contract,” as it is used in Section

546(e), as, inter alia, “a contract for the purchase, sale, or loan of a security.” 11 U.S.C. § 741(7).

The CHS Defendants’ assertion that the SDA is a securities contract is predicated on self-serving

language contained in the SDA—which was drafted solely by CHS—that the Spin-Off Dividend

was made “in partial consideration for” the QHC Assets, which included the shares of certain CHS

subsidiaries. CHS Mot. at 11; see also CS Mot. at 8-9; Compl. ¶ 82. But as noted above, the

SDA’s language is directly contradicted by the well-founded and extensive allegations in the

Complaint (which, among other things, point to statements made by CHS itself) that the Spin-Off


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Dividend was a gratuitous “dividend” that was not paid in consideration for the QHC Assets, which

continued to be owned, indirectly, by CHS’s shareholders. See supra ¶¶ 39-42. At this stage of

the litigation, these allegations are more than sufficient to preclude a finding by this Court that the

SDA was a securities contract under Section 546(e). See, e.g., In re Pitt Penn, 2011 WL 4352373

at *12 (Bankr. D. Del. 2011) (“[T]he Court notes, however, that the material facts relating to the

transfer … at issue are not undisputed, such that further proceedings may be required to determine

… the nature of these transfers. At this stage, however, the Court must take the factual allegations

in the Complaint in the light most favorable to the Plaintiff. Here, the Plaintiff has alleged that the

transfers … were made in the form of charitable gifts and not pursuant to a securities contract.

Accordingly, the Court finds that the Plaintiff has alleged sufficient facts that could operate to

make § 546(e) inapplicable and thus prevent Tabor from successfully availing itself of this

defense.”).

               2.      The Alleged Note Purchase Agreement And Alleged Open Market
                       Purchases Are Not Integral To The Complaint And May Not Be Considered
                       In Connection With The Motions

       51.     The question of whether the alleged “purchase agreement between Quorum and

certain initial purchasers” of the Senior Notes, and alleged “CHSI Tender Offer & Open Market

Repurchases” are “securities contracts” likewise cannot be determined at this stage of the

litigation. To decide a motion to dismiss, courts may consider only “the allegations contained in

the complaint, exhibits attached to the complaint and matters of public record.” Pension Ben.

Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d Cir. 1993). Exhibits attached

to a motion to dismiss may be considered only if they are “integral to or explicitly relied upon in

the complaint.” Schmidt v. Skolas, 770 F.3d 241, 249 (3d Cir. 2014) (quoting In re Burlington

Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir.1997)).

       52.     Here, the “purchase agreement between [QHC] and certain initial purchasers” of


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the Senior Notes and any contracts governing the alleged “CHSI Tender Offer & Open Market

Repurchases” are not alleged in the Complaint, attached to the Complaint, or matters of public

record. And even if these agreements are, as CHS contends, “contemplated by the Spin-Off

Agreement” (CHS Mot. at 11), that does not suffice to render them appropriate for consideration

on a motion to dismiss.

       53.     The District of Delaware case of Southern Track & Pump, Inc. v. Terex Corp. is

instructive. 722 F. Supp. 2d 509, 515 (D. Del. 2010). There, the complaint sought a declaratory

judgment based on obligations in a financing agreement, which was attached to the complaint. Id.

In support of its motion to the dismiss, the defendant requested that the court consider certain

“Transaction Statements” that were referenced in the agreement. Id. The court concluded that it

could not consider the Transaction Statements on the motion to dismiss, because they did not

“represent a central element of Plaintiff’s claims” and were “not needed to support Plaintiff’s

claims.” Id. The same result is mandated here. The note purchase agreement and documents

governing open-market repurchases are not a central element of Plaintiffs’ claims, and are not

needed to support Plaintiffs’ claims. Such documents are not part of the record properly before

the Court, and thus cannot be considered in deciding the Motions.

               3.     The Spin-Off Dividend Was Not Made “In Connection With” The Note
                      Purchase Agreement Or Open Market Repurchases

       54.     Even if the CHS Defendants could rely on the alleged note purchase agreement

and/or tender off and open market purchases at this stage of the litigation (they cannot), their

Section 546(e) argument still would fail to the extent it is predicated on these agreements, as the

Spin-Off Dividend was not “made in connection with” them. To the contrary, while the proceeds

of the Senior Notes were used to fund the Spin-Off Dividend, and the proceeds of the Spin-Off

Dividend were then allegedly used to fund the tender offer and open market purchases, the question



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is not whether the Spin-Off Dividend has any connection whatsoever to the proceeds of the notes

purchase agreement or the funding of the tender off and open market purchases. The relevant

question is whether the Spin-Off Dividend was “made in connection with” any alleged notes

purchase agreement, or any alleged contracts governing the alleged tender off or open market

purchases. The answer to that question is plainly no, as the actual transfer of the Spin-Off Dividend

was made solely in connection with the terms of the SDA (which is not a securities contract).

       55.     Defendants rely solely on non-binding case law from the Second Circuit—which,

as discussed in greater detail below, affords Section 546(e) a more expansive application than

courts within this circuit, see, e.g., Physiotherapy, 2016 WL 3611831, at *7 —for their assertion

that the Court should apply a “low bar” to the “in connection with” prong of section 546(e) that

may be satisfied merely if a transfer is “related to” or “associated with” a securities contract in any

way. CHS Mot. at 12 (citing In re Bernard L. Madoff Inv. Sec. LLC, 773 F.3d 411, 422 (2d Cir.

2014); Holliday v. Credit Suisse Sec. (USA) LLC, 2021 WL 4150523 at *4 (S.D.N.Y. Sept. 13,

2021); In re Lehman Bros. Holdings Inc., 469 B.R. 415, 439-42 (Bankr. S.D.N.Y. 2012)). This

Court has previously indicated, however, that Section 546(e)’s “in connection with” language

requires a closer nexus than the loose and boundless affiliation suggested by the CHS Defendants.

See In re Pitt Penn, 2011 WL 4352373 at *12 (Bankr. D. Del. 2011) (rejecting Section 546(e)

defense at motion to dismiss stage based on plaintiff’s allegation that transfers were not made

“pursuant to a securities contract”) (emphasis added).

       56.     The higher standard applicable to the “made in connection with” language posited

by this Court comports with guidance from the Supreme Court regarding the appropriate way to

interpret “in connection with” in legislation. In Maracich v. Spears, 570 U.S. 48, 59-60 (2013),

the Supreme Court instructed that because “[t]he phrase ‘in connection with’ is essentially




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‘indeterminat[e]’ because connections, like relations, ‘stop nowhere,’” it must be interpreted under

“a limiting principle consistent with the structure of the statute and its other provisions.” See also

Delaware v. BP Am. Inc., 2022 WL 58484, at *14 (D. Del. Jan. 5, 2022) (“[A]s the Supreme Court

has observed, ‘the phrase “in connection with” provides little guidance without a limiting

principle.’”) (quoting and relying on Maracich). This limiting principle, the Supreme Court held,

is especially important where, as here, the statutory provision at issue operates as an exception to

a more general statutory provision. See Maracich 570 U.S. at 60. In such instances, the exception

should be “read ... narrowly in order to preserve the primary operation of the provision,” and the

“exceptions ought not operate to the farthest reach of their linguistic possibilities if that result

would contravene the statutory design.” Id. at 60 (emphasis added); see also Comm'r v. Clark,

489 U.S. 726, 739 (1989) (“In construing provisions … in which a general statement of policy is

qualified by an exception, we usually read the exception narrowly in order to preserve the primary

operation of the provision. Given that Congress has enacted a general rule …, we should not

eviscerate that legislative judgment through an expansive reading of a somewhat ambiguous

exception.”) (citations omitted)..

       57.     Here, Section 546(e) operates as an exception to the “more general statutory

provision[s]” of chapter 5 of the Bankruptcy Code, the “primary operation” of which is to allow

for the avoidance and disgorgement of fraudulent transfers and preferences for the benefit of

creditors. Id. at 60; Merit Management Group, LP v. FTI Consulting, Inc., 138 S.Ct. 883, 888

(2018) (“Chapter 5 of the Bankruptcy Code affords bankruptcy trustees the authority to “se[t] aside

certain types of transfers ... and ... recaptur[e] the value of those avoided transfers for the benefit

of the estate....[T]he § 546(e) safe harbor operates as a limit to the general avoiding powers of a

bankruptcy trustee.”). The purpose of Section 546(e), conversely, “is to ensure that the swap and




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forward contract financial markets are not destabilized by uncertainties regarding the treatment of

their financial instruments under the Bankruptcy Code.” Physiotherapy, 2016 WL 3611831, at *8

(quoting H.R. Rep. 101-484 (1990)). Interpreting the “made in connection with” language of

section 546(e) to apply to every transfer with any tie to a securities contract, regardless of whether

the transfer at issue was actually required or governed by a securities contract, would significantly

“contravene” chapter 5’s statutory design of enabling creditors to avoid and recover improper

transfers, and do nothing to further section 546(e)’s goal of “protecting market intermediaries and

protecting the markets” in order to “avoid problems of ‘ripple effects.’” See id.

       58.     This point is well illustrated by the matter at hand. The Spin-Off Dividend was a

single transfer made by a wholly-owned subsidiary to its corporate parent, in order to benefit the

corporate parent at the expense of the subsidiary’s creditors. The avoidance and recovery of the

Spin-Off Dividend poses no risk whatsoever of any “ripple effects” on the financial markets.

Extending Section 546(e) to the Spin-Off Dividend, simply because the Spin-Off Dividend was

funded by or funded other transactions that are governed by securities contracts, would

significantly “contravene” chapter 5’s “statutory design” of allowing for the avoidance of improper

transfers made at creditors’ expense, and do nothing to further Section 546(e)’s objectives.

       59.     Finally, approximately $880 million of the Spin-Off Dividend derives from the

proceeds of a senior term loan credit facility that does not constitute a security under the

Bankruptcy Code, and it cannot be determined at this stage of the litigation if any portion of the

Spin-Off Dividend was used by CHS for purposes other than to fund open market purchases, or to

repurchase debt that that was not a security. Compl. ¶ 64; see 11 U.S.C. § 101(49). Even if the

Court were to accept the CHS Defendants’ boundless interpretation of the Section 546(e)’s “made

in connection with” language, avoidance of these portions of the Spin-Off Dividend would not be




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precluded.

               4.      The Spin-Off Dividend Was Paid To BridgeCo, Which Is Not A Financial
                       Participant

       60.     The CHS Defendants’ Section 546(e) argument fails for the additional reason that

the Spin-Off Dividend was paid to BridgeCo—not CHS-2. See Compl. ¶ 85. CHS does not dispute

that BridgeCo was the direct recipient of the Spin-Off Dividend, and does not contend that

BridgeCo is a financial participant under the Bankruptcy Code. Instead, CHS argues that CHS-2

“both received and was the beneficiary of” the Spin-Off Dividend because BridgeCo merged with

CHS-2 after it received the Spin-Off Dividend. CHS Mot. at 12. But the fact that BridgeCo

merged (and apparently then ceased to exist, see CHS Mot. Ex. 1 (SDA) Schedule 2.02) with an

alleged financial participant after the Spin-Off Dividend was made does not render the Spin-Off

Dividend “a transfer ….made … to …. a financial participant.” 11 U.S.C. § 546(e). Rather, CHS-

2 is akin to a subsequent transferee, to which Section 546(e) does not apply by its plain terms. See,

e.g., Securities Investor Protection Corp. v. Bernard L. Madoff Inv., 505 B.R. 135, 143-44

(S.D.N.Y. 2013) (holding that principles of interpretation applying to Section 546(e) apply to

section 546(g) of the Code as well, and that based on the prefatory language in both section 546(g)

and Section 546(e), section 546(g) does not apply to subsequent transferees unless the initial

transfer is protected by the safe harbor).

       61.     Additionally, if the Spin-Off Dividend had been made for CHS-2’s benefit, there

would have been no need for CHS-2 to subsequently merge with BridgeCo. In truth, transfer of

the Spin-Off Dividend to BridgeCo alone (which was likely to reap certain tax benefits for CHS)

did not benefit CHS-2, which is why CHS-2 merged with BridgeCo following the transfer. CHS

undoubtedly structured the Spin-Off in this way intentionally, in order to derive tax or other

corporate benefits. Having done so, it must now live with the repercussions of the structure.



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               5.      Whether CHS-2 Is A Financial Participant Cannot Be Determined On A
                       Motion To Dismiss

       62.     The CHS Defendants’ sole support for their contention that CHS-2 is a financial

participant for purposes of Section 546(e) are SEC filings that are not referenced in, relied on by,

nor integral to the Complaint. Such materials may be considered by a court on a motion to dismiss

“only … to establish the truth of their existence, not the truth of their contents.” Lupin Atlantis

Holdings v. Ranbaxy Labs., Ltd., Civil Action No. 10–3897, 2011 WL 1540199, at *3 n.8 (E.D.

Pa. Apr. 21, 2011) (citing Oran, 226 F.3d at 289). Thus, CHS-2’s alleged financial participant

status cannot be accepted as true at this juncture, and Plaintiffs must be afforded an opportunity to

test it through discovery.

       B.      Section 546(e) Does Not Apply To The Claims Against Credit Suisse

       63.     Credit Suisse’s argument that Section 546(e) bars the Trustee’s avoidance claims

against it, because Credit Suisse is a financial participant, and the Transaction Fee was “made in

connection with” the notes purchase agreement, also fails. As discussed above, the notes purchase

agreement may not be considered in connection with the Motions. Further, while the Trustee

concedes that the Transaction Fee was made in connection with the Spin-Off Debt, it cannot be

determined at this phase of the litigation whether it was also made in connection with any contract

governing the Senior Note debt. For example, the Trustee does not know if Credit Suisse simply

assisted CHS in securing the commitments necessary to raise the Spin-Off Debt, or was also

involved in the memorialization and execution of the commitments to fund the Senior Note debt.

Discovery is needed before any defense predicated on Section 546(e) may be determined.

       C.      Even if Section 546(e) Otherwise Applied, It Would Not Bar The Illegal
               Dividend and Unjust Enrichment Claims

       64.     Even if Section 546(e) otherwise applied (it does not), it still would not bar the

illegal dividend and unjust enrichment claims. As Judge Peck stated in Lehman Bros., “the plain


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language of Section 546(e), read literally, provides limited immunity but does not bar Plaintiffs

from maintaining all common law claims, intentional fraud claims and any other claims not

expressly embraced by Section 546(e).” In re Lehman Bros. Holdings, Inc., 469 B.R. 415, 450

(Bankr. S.D.N.Y.). Thus, claims that “have more in common with claims grounded in actual

fraudulent intent … are not to be treated as replicas of claims to recover constructively fraudulent

transfers …” Id. at 451; see also In re Hellas Telecommunications (Luxembourg) II SCA, 526 B.R.

499, 510 (Bankr. S.D.N.Y. 2015) (where a “common law claim alleges facts substantially identical

to an actual fraudulent conveyance claim under section 548(a)(1)(A)” that is excepted from section

546(e), the claim is not barred or preempted by 546(e)) (emphasis in original).

         65.      Here, the illegal dividend and unjust enrichment claims are not “identical to the

[Complaint’s] constructive fraudulent transfer claims,” and “have more in common with claims

grounded in actual fraudulent intent.” Lehman Bros., 469 B.R. at 450-51. Additionally, the illegal

dividend claim does not seek to “avoid” a transfer as section 546(e) precludes when its

requirements are met, but instead seeks to hold CHS and the director Defendants liable for their

intentionally wrongful and fraudulent acts of causing QHC to pay the Spin-Off Dividend

notwithstanding that they knew, or should have known, that doing so would render QHC insolvent,

inadequately capitalized, and unable to pay its debts as they came due. There is nothing about

Section 546(e)’s language that expressly or implicitly bars such a claim.

VIII. THE ARBITRATION ORDER DOES NOT BAR PLAINTIFFS’ CLAIMS FOR
      ILLEGAL DIVIDEND, AIDING AND ABETTING ILLEGAL DIVIDEND, OR
      UNJUST ENRICHMENT14

         66.      The CHS Defendants argue further that the Complaint’s illegal dividend, aiding


14
         Plaintiffs note at the outset that due to confidentiality concerns regarding the pre-petition arbitration (the
“Arbitration”) between CHS and QHC, prior to receiving CHS’s Motion, Plaintiffs did not have access to the order
issued by the arbitration panel (the “Arbitration Order”). Nevertheless, as set forth herein, the Arbitration Order does
not bar Plaintiffs’ illegal dividend, aiding and abetting, and unjust enrichment claims.



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and abetting illegal dividend, and unjust enrichment claims are precluded under theories of claim

and issue preclusion (i.e., res judicata and collateral estoppel), because QHC could have asserted

these claims in the Arbitration, and the underlying issue of CHS’s fraudulent conduct was already

decided by the arbitration panel when it ruled that QHC “had not met its burden of proving an

intentional interference” by CHS. CHS Mot. at 21-23. Both arguments are wrong.

        67.     First, for either claim or issue preclusion to apply, the party against whom the

doctrine is asserted must have been a party or in privity with a party in the prior action. In re Cont'l

Airlines, 203 F.3d 203, 208 (3d Cir. 2000) (“Claim preclusion requires a final judgment on the

merits in a prior suit involving the same parties, or their privities . . . .”); Seborowski v. Pittsburgh

Press Co., 188 F.3d 163, 169 (3d Cir. 1999) (“[T]he party against whom [issue preclusion] is

asserted must have been a party or in privity with a party to the prior adjudication and have had a

full and fair opportunity to litigate the issue in question in the prior action”). Here, to the extent

that the Trustee and WSFS are pursuing claims as representative or assignee of the Senior

Noteholders, there plainly is no privity between them and pre-petition QHC.15 And privity is also

lacking to the extent the Trustee is pursuing claims in his capacity as the assignee of estate claims.

        68.     In In re Montgomery Ward, LLC, 634 F.3d 732, 738 (3d Cir. 2011), the Third

Circuit held that there was no privity between the debtor in the first bankruptcy proceeding of

Montgomery Ward, LLC (“Ward”) and a bankruptcy plan administrator in Ward’s second

bankruptcy proceeding, and thus the plan administrator was not barred by res judicata from

challenging a lease that the Ward debtor assumed in the first bankruptcy. The court explained that:

        even though a trustee in bankruptcy has a substantive legal relationship with the
        pre-bankruptcy debtor, the ‘[t]rustee is not simply the successor in interest to the
        Debtor: he represents the interests of all creditors of the Debtor’s bankruptcy
        estate.’ Because the trustee also represents the general creditors’ interests, the legal

15
        Under Section 174 of the DGCL, creditors have independent claims against directors.



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       relationship between the trustee and the pre-bankruptcy debtor is incomplete,
       particularly when the interests of the creditors diverge from those of the debtor.

Id.; see also Maxus Energy Corp., 2019 WL 647027, at *5 (Bankr. D. Del. Feb. 15, 2019)

(rejecting argument that trustee of liquidating trust was barred by res judicata from pursuing

claims that could have been brought by debtor in pre-petition action); In re Tzanides, 574 B.R.

489, 522 (Bankr. D.N.J. 2017) (holding that a trustee and debtor were not in privity for purposes

of res judicata because “the [t]rustee’s interest in asserting this claim for the benefit of creditors

is directly opposite to the Debtor’s interest in shielding property from his creditors”); In re Good

Time Charley’s, Inc., 54 B.R. 157, 160 (Bankr. D. N.J. 1984) (holding that bankruptcy trustee was

not in privity with prepetition debtor for res judicata or collateral estoppel purposes because the

trustee was “seeking to protect the rights of creditors who did not have the opportunity to challenge

the mortgage in the state court proceedings”).

       69.     The interests of the Trustee, acting in his capacity as the successor-in-interest to the

QHC estate or assignee of the Senior Noteholders, and WSFS, acting in its capacity as the

Indenture Trustee under the Senior Notes indenture plainly “diverge from those of the [QHC]

debtor” such that Plaintiffs cannot be barred by claim or issue preclusion from pursuing claims

that could have been brought in the Arbitration or that are predicated on issues raised in the

Arbitration. See Montgomery Ward, 634 F.3d at 738. The illegal dividend claim is predicated on

the claim that QHC did not have surplus or net profits from which to issue the Spin-Off Dividend.

See DGCL §§ 170, 173. Prior to QHC’s decision to publicly acknowledge that it was “bordering

on bankruptcy” shortly after the Spin-Off, and that the financial obligations incurred in connection

with the Spin-Off left QHC doomed to fail, QHC was disincentivized to pursue any claims

predicated on insolvency, lest it further undermine its already doomed attempts to restructure its

debt. Compl. ¶11.



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        70.     Similarly, the Complaint’s unjust enrichment claims are based on the allegations

that certain of the CHS Defendants were unjustly enriched at the expense of QHC’s creditors, who

were ultimately left with a recovery of only cents on the dollar. Such an argument plainly would

not have been asserted by QHC prior to its default of its funded debt. Nor could it have been, as

the default had not yet happened. Thus, the CHS Defendants’ claim preclusion defense fails for

this additional reason as well. See Beasley v. Howard, 14 F.4th 226, 237 n.7 (3d Cir. 2021) (“We

have also been reluctant to apply claim preclusion where it is not established that the claims in a

plaintiff’s second lawsuit ‘had accrued ... or were even justiciable’ at the time of the first.”).

        71.     Second, issue preclusion applies only if “the identical issue was previously

adjudicated.” Henglein v. Colt Indus. Operating Corp., 260 F.3d 201, 209 (3d Cir. 2001)

(emphasis added). “Identity of the issue is established by showing that the same general legal rules

govern both cases and that the facts of both cases are indistinguishable as measured by those rules.”

Suppan v. Dadonna, 203 F.3d 228, 233 (3d Cir. 2000) (quoting 18 Charles Alan Wright, Arthur

R. Miller, Edward H. Cooper, Federal Practice & Procedure § 4425, at 253 (1981)). Here, the

illegal dividend claims turn on whether QHC paid the Spin-Off Dividend “[o]ut of its surplus [or]

[i]n case there shall be no such surplus, out of its net profits for the fiscal year in which the dividend

is declared and/or the preceding fiscal year.” DGCL § 173. There is no dispute that the arbitration

panel never considered this issue, and thus the Arbitration Order cannot preclude the Trustee from

bringing the illegal dividend claim. Likewise, the unjust enrichment claim turns on whether CHS

rendered QHC insolvent through its fraud and other machinations, which the arbitration panel did

not consider. The unjust enrichment claim, therefore, also cannot be precluded.

IX.     IF THE ESTATE CANNOT PURSUE CLAIMS FOR AVOIDANCE, UNJUST
        ENRICHMENT, OR ILLEGAL DIVIDEND, PLAINTIFFS MAY PURSUE THOSE
        CLAIMS IN THEIR CAPACITIES AS THE NOTEHOLDERS’ ASSIGNEE

        72.     As noted supra in sections II through VIII, each of Defendants’ efforts to preclude


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the Trustee from asserting claims in his capacity as the assignee of the QHC estate fails. In the

event that the Court finds that the estate is barred from asserting these claims, however, the Trustee,

who is the assignee not only of causes of action held by the QHC estate but also those contributed

by approximately 95% of the Senior Noteholders, may pursue the causes of action in his capacity

as the Senior Noteholders’ assignee.16 The CHS Defendants’ arguments that (1) such claims are

preempted by section 546(e), (2) the Trustee and Indenture Trustee lack standing to pursue claims

in their capacity as the Senior Noteholders’ assignee or representative, and (3) this Court lacks

jurisdiction over such claims, are without merit and should be rejected.

        A.       The Senior Noteholder Claims Are Not Preempted By Section 546(e)

        73.      Relying solely on the Second Circuit’s decision in In re Tribune Co. Fraudulent

Conveyance Litig., 946 F.3d 66 (2d. Cir. 2019) and a case from the Southern District of New York

that was bound by it, Holliday v. Credit Suisse Sec. (USA) LLC, 2021 WL 4150523, at *8

(S.D.N.Y. Sept. 13, 2021), the CHS Defendants assert that Section 546(e) impliedly preempts the

Plaintiffs, in their capacities as the Senior Noteholders’ assignee and representative, from pursuing

claims that the Trustee is barred from bringing in his capacity as the assignee of estate claims. But

the Tribune court’s preemption holding is wrong, conflicts with the express language of Section

546(e) and binding Supreme Court and Third Circuit precedent, and has been rejected by courts

within the Third Circuit. See infra § IX.A.3. This court should join those courts in declining to

adopt it.

                 1.      Contrary To Tribune, The Presumption Against Preemption Applies In
                         Bankruptcy Proceedings

        74.      Generally, there is a strong presumption against implied federal preemption of



16
         The Indenture Trustee joins the Trustee in pursuing Senior Noteholder claims other than those asserted
against Credit Suisse.



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state-law rights. “[B]ecause the States are independent sovereigns in our federal system,” the

Supreme Court has “long presumed that Congress does not cavalierly pre-empt state-law causes

of action.” Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996). A party arguing for preemption

“bear[s] the considerable burden of overcoming ‘the starting presumption that Congress does not

intend to supplant state law.’” DeBuono v. NYSA-ILA Med. & Clinical Servs. Fund, 520 U.S. 806,

814 (1997). “[A] ‘clear and manifest purpose’ of pre-emption is always required.” Puerto Rico

Dept of Consumer Affairs v. Isla Petroleum Corp., 485 U.S. 495, 503 (1988); see also, e.g., Wyeth

v. Levine, 555 U.S. 555, 565 (2009) (similar).

       75.     Tribune disregarded this well-recognized presumption, ruling that it does not apply

in bankruptcy because the “area” of creditors’ rights is not “recognized as traditionally one of state

law alone” and, moreover, “the Bankruptcy Code constitutes a wholesale preemption of state laws

regarding creditors’ rights.” 946 F.3d at 82. This left the court free, it determined, to infer

congressional intent with “no measurable concern about federal intrusion into traditional state

domains” and no “countervailing pressures of state law concerns.” Id. at 83.

       76.     The Supreme Court has ruled, however, that the presumption against preemption

does apply in bankruptcy cases. See BFP v. Resolution Trust Corp., 511 U.S. 531, 540, 544-45

(1994) (“Absent a clear statutory requirement to the contrary, we must assume the validity of [a]

state-law regulatory background .... To displace traditional state regulation in such a manner, the

federal statutory purpose must be ‘clear and manifest.’ Otherwise, the Bankruptcy Code will be

construed to adopt, rather than to displace, pre-existing state law.”) (citations omitted). So has the

Third Circuit. See In re Fed.-Mogul Glob., 684 F.3d 355, 365 (3d Cir. 2012) (“This ‘strong

presumption against inferring Congressional preemption’ also applies ‘in the bankruptcy

context.’”) (quoting Integrated Sols., Inc. v. Serv. Support Specialties, Inc., 124 F.3d 487, 493 (3d




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Cir. 1997)). And so have other Circuits. See PG&E Co, v. California, 350 F.3d 932, 943 (9th Cir.

2003) (“[T]he presumption against displacing state law by federal bankruptcy law is just as strong

in bankruptcy as in other areas of federal legislative power.”); In re Irving Tanning Co., 496 B.R.

644, 663 (B.A.P. lst Cir. 2013) (same).

          77.     The Tribune court did not distinguish, or even cite, any of these authorities.17

Accordingly, the Tribune court clearly erred in disregarding the “strong presumption against

inferring Congressional preemption,” which should apply here. In re Fed.-Mogul Glob., 684 F.3d

at 365. This error fatally undermines the Tribune court's ultimate finding of preemption.

                  2.       Section 546(e) Does Not Reveal A Clear Intent To Preempt State-Law
                           Remedies Pursued By Creditors

          78.     Congress’s intent is the touchstone of a preemption analysis: state laws can be

impliedly preempted only if Congress’s “clear and manifest purpose” was to preempt them. Isla

Petroleum, 485 U.S, at 503. “The best evidence of [Congress’s] purpose is the statutory text.”

West Virginia Univ. Hosps., Inc. v. Casey, 499 U.S. 83, 98-99 (1991). Here, neither the text,

structure, history, or purpose of Section 546(e) or of the Code more generally reveals any

purpose—let alone a “clear and manifest” one—to preempt creditors’ state-law fraudulent transfer

claims.

                           (a)      Tribune’s Preemption Holding Is Contrary to Section 546(e)’s Plain
                                    Language

          79.     Section 546(e) provides that, “[n]otwithstanding sections 544, 545, 547,



17
         These authorities applying the presumption in the context of bankruptcy make perfect sense. Contrary to
Tribune’s understanding (946 F.3d at 82), the presumption applies in “all pre-emption cases” where state and federal
laws traditionally coexisted (see Medtronic, 518 U.S. at 485), not just those where federal regulation traditionally was
absent. Wyeth, 555 U.S. at 565 n.3. And the Bankruptcy Code does not effect a “wholesale preemption of state laws”
(946 F.3d at 83) such that preemption can be presumed. See Midlantic Nat'l Bank v. N.J. Dept of Envt'l Prot., 474 U.S.
494, 505 (1986) (Congress “did not intend for the Bankruptcy Code to pre-empt all state laws.”); see also In re Schafer,
689 F.3d 601, 614 (6th Cir. 2012) (The Code is “not so pervasive, nor is the federal interest so dominant, as to wholly
preclude state legislation in the area.”) (quoting In re Applebaum, 422 B.R. 684, 689 (B.A.P. 9th Cir. 2009)).



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548(a)(1)(B), and 548(b) ... the trustee may not avoid a transfer that is a ... settlement payment ...

except under section 548(a)(1)(A) of this title.” 11 U.S.C. § 546(e) (emphasis added). By its terms,

the provision only circumscribes the powers of the “trustee.” The Code defines “the trustee” as

the statutory “representative of the estate” (11 U.S.C. § 323(a)), which is obviously distinct from

an estate’s creditors. And the Supreme Court has confirmed (in another decision that the Tribune

court does not cite) that a Code provision addressing the “trustee” applies only to an estate

representative, since Congress “could easily have used [a broader] formulation” if it wanted to

encompass others. See Hartford Underwriters Ins. Co. v. Union Planters Bank, NA, 530 U.S. 1,

6-7 (2000).18

         80.      The prefatory clause of Section 546(e) further confirms that creditor claims under

state law are not affected by the statute. Section 546(e) starts with a “notwithstanding” clause that

references “sections 544, 545, 547, 548(a)(1)(B), and 548(b) of this title,” all of which are federal-

law avoidance claims that only the “trustee,” and not an estate’s creditors, may pursue. The

Tribune court’s conclusion that Section 546(e) bars state-law avoidance claims by creditors to the

same extent as claims by a trustee effectively rewrites the statutory language to provide that

“[n]otwithstanding sections 544, 545, 547, 548(a)(1)(B), and 548(b) and anv avoidance claim

authorized under state law ... the trustee and the creditors of an estate may not avoid a transfer

[described by the statute] except under section 548(a)(1)(A) of this title.” But it violates every

tenet of statutory construction to distort the plain text of a statute in this way. Because the language

of § 546(e) is clear in not applying to claims by creditors under state law, the Second Circuit’s

preemption analysis should have ended there. Casey, 499 U.S. at 98-99; see In re Lyondell Chem.,



18
         The fact that Hartford construed “trustee” in a different Code section (§ 506(c)) is irrelevant. See IBP, Inc.
v. Alvarez, 546 U.S. 21, 34 (2005) (“[I]dentical words used in different parts of the same statute are generally presumed
to have the same meaning.”).



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503 B.R. at 358 (“[I]f Congress intended section 546(e) to be more broadly applicable, ‘it could

simply have said so.’”); PHP Liquidating LLC v. Robbins, 291 B.R. 592, 607 (D. Del. 2003).

                       (b)     Tribune’s Preemption Holding Is Inconsistent With The Structure
                               Of The Code

       81.     Tribune’s preemption conclusion also conflicts with the structure of the Code.

First, provisions in the Code other than Section 546(e) explicitly apply to “any person,” “any

creditor,” or “any party in interest,” showing that Congress knows how to write statutes to apply

to creditors when it wants to. See, e.g., 11 U.S.C. § 1109(b) (“A party in interest, including the

debtor, the trustee, a creditors’ committee, ... a creditor,... or any indenture trustee, may raise and

may appear and be heard on any issue in a case ...”); id. § 101(10) (defining “creditor”).

       82.     Second, provisions in the Code other than Section 546(e) explicitly preempt state

law, showing that Congress also knows how to write statutes to address state-law claims when it

so intends. See, e.g., 11 U.S.C. §341(c) (“Notwithstanding any local court rule, provision of a

State constitution, any otherwise applicable nonbankruptcy law ....”); 11 U.S.C. § 541(c)(1)

(“notwithstanding any nonbankruptcy law”); id. § 1123(a) (similar); id. §§ 366(c)(4), 704(c)(2)(B),

1123(a), 1142(a), 1302(d)(2)(B) (similar).

       83.     Third, Congress specifically extended other safe harbors to claims by creditors,

showing that its failure to extend Section 546(e)’s safe harbor to creditor claims was intentional.

The first sentence of Section 544(b)(2) creates a safe harbor for charitable contributions that, like

Section 546(e), operates solely against the trustee. But the second sentence of Section 544(b)(2)

expands the reach of that safe harbor to provide that “[a]ny claim by any person to recover [such]

contributions] ... under Federal or State law ... shall be preempted.” 11 U.S.C. § 544(b)(2)

(emphasis added.) The absence of an analogous preemption provision in Section 546(e) is

“powerful evidence” that Congress did not intend that section to preempt state-law avoidance



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claims. Wyeth, 555 U.S. at 574-75; see Russello v. United States, 464 U.S. 16, 23 (1983) (“[W]here

Congress includes particular language in one section of a statute but omits it in another section of

the same Act, it is generally presumed that Congress acts intentionally and purposely in the

disparate inclusion or exclusion.”); In re Fed.-Mogul Glob., 684 F.3d at 373 (similar).19

        84.      Fourth, Tribune’s interpretation of Section 546(e) conflicts with the rulings of

numerous Circuit courts interpreting section 546(a) of the Code, which is a related limitation on

trustee power found in the very same statute. Section 546(a) provides that fraudulent transfer

claims brought “under section 544, 545, 547, 548, or 553 of this title may not be commenced”

after the expiration of a two-year limitations period. If this reference to federal-law claims is to

be expanded to also include “any avoidance claim authorized under state law,” as Tribune held

when interpreting Section 546(e), then the two-year limitations period of section 546(a) would bar

state-law fraudulent transfer claims of creditors in addition to claims brought by a trustee. But

several courts of appeals have held that section 546(a)’s limitation “applies only to actions by

trustees,” not creditors. Hatchett v. United States, 330 F.3d 875, 887 (6th Cir. 2003); see also,

e.g., Fed. Deposit Ins. Corp. v. Davis, 733 F.2d 1083,1085 (4th Cir. 1984). Tribune provides no

explanation for construing § 546(e) as limiting claims by creditors under state law while § 546(a)

limits only claims by a trustee under federal law.

                          (c)      Tribune’s Preemption Holding Ignores The Competing Purposes of
                                   Section 546(e) And The Code

        85.      Additionally, without any real support in the text, structure, or history of the Code,

Tribune found an implied conflict between state and federal law by singularly focusing on the



19
          The Tribune court’s assertion that cases holding that the existence of an “express preemption provisio[n]”
does not “make it more difficult to establish the preemption of laws falling outside the clause” does not undermine
this rule of statutory interpretation, which shows that Congress recognized the difference between “trustee’ and “any
person.”



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policy it believed to underlie Section 546(e)—an interest in minimizing the displacement caused

in the securities markets by avoidance claims. 946 F.3d at 92-93. But as courts in this district

have found (as discussed in greater detail below), Tribune adopted a broad interpretation of the

statute’s purpose that is not grounded in its legislative history. See Physiotherapy, 2016 WL

3611831 at *8; In re Physiotherapy Holdings, Inc., 2017 WL 6524524, at *9 (D. Del. December

21, 2017) (“Physiotherapy II”) (agreeing with the Bankruptcy Court’s conclusion that “Tribune

and similar cases placed too much emphasis on policy concerns which find minimal support in the

Congressional record”). Further, Congress pursues a host of other aims through the Code—

including to make the creditors of a bankruptcy estate whole, Cybergenics Corp. v. Chinery (In re

Cybergenics Corp.), 226 F.3d 237, 241, 244 n.9 (3d Cir. 2000)—and a proper preemption analysis

must consider the Code “as a whole.” Crosby v. Nat'l Foreign Trade Council, 530 U.S. 363, 373

(2000).

          86.    Moreover, even focusing on Section 546(e) alone, it is clear that Congress itself

recognized the competing interest in maximizing creditor recoveries, which is why actual

fraudulent transfer claims brought by the trustee under Section 548(a)(1)(A) are excluded from the

safe harbor. Thus, Section 546(e) itself refutes the Second Circuit’s conclusion that the Code

elevates the immunity of protected settlement payments and payments made in connection with a

securities contract above all other competing interests. The Supreme Court has recognized that

Congress balanced various competing interests—including avoiding “economic harm” to

“creditors”—in the detailed provisions of the Code, and that “it is not for courts to alter the balance

struck by the statute.” Law v. Siegel, 134 S. Ct. 1188, 1197-98 (2014); see also RadLAX Gateway

Hotel ,LLC v. Amalgamated Bank, 132 S. Ct. 2065, 2073 (2012); Hall v. United States, 132 S. Ct.

1882, 1893 (2012). If Congress wanted to insulate the financial markets from any potential




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disruption caused by fraudulent transfer actions, it could have enacted a broader safe harbor. It

chose not to do so. And this reveals Congress’s purpose, for as the Supreme Court has recognized,

“the purpose of a statute includes not only what it sets out to change, but also what it resolves to

leave alone.” Casey, 499 U.S. at 98.

         87.      And there is nothing “anomalous” about Congress’s decision to permit creditors to

bring state law avoidance claims while limiting claims by trustees in bankruptcy. Contra Tribune,

946 F.3d at 87. Indeed, one might reasonably conclude that claims by a trustee, which carry the

potential to avoid a transfer even beyond “the extent necessary to satisfy the individual creditor

actually holding the avoidance claim,” Cybergenics, 226 F.3d at 243, pose a more disruptive threat

to markets. In any event, it is not the job of the courts to recalibrate the delicate balance between

minimizing disruption in securities markets and maximizing creditor recoveries that was struck by

Congress.

                  3.       Tribune’s Preemption Decision Has Been Rejected By Courts Within This
                           Circuit

         88.      Each court within this Circuit that has confronted Tribune’s preemption decision

has concluded that it was wrongly decided.20 See In re Physiotherapy Holdings, Inc. 2016 WL

3611831 (Bankr. D. Del. Jun. 20, 2016) (“Physiotherapy”) and In re Physiotherapy Holdings, Inc.,

2017 WL 6524524, at *9 (D. Del. December 21, 2017) (“Physiotherapy II”). In Physiotherapy, a

litigation trustee, acting in his capacity both as the estate representative and the assignee of creditor

claims, sought to avoid payments made by the debtor in a leveraged buyout to controlling


20
         In response to an order from the Supreme Court inviting it to share the United States’ views regarding the
Tribune plaintiffs’ petition for certiorari, the Acting Solicitor General stated that it also believes that the Second
Circuit “erred in finding that creditors’ state-law avoidance actions are preempted by Section 546(e).” See In re
Tribune Co. Fraudulent Conveyance, Brief for the United States as Amicus Curiae. And counsel for the CHS
Defendants has also persuasively argued that the statute does not preempt creditor claims. See In re Tribune Co.
Fraudulent Conveyance, Response and Reply Brief of Plaintiffs-Appellants-Cross-Appellees, 2014 WL 1509491, at
58, 70-74, 81 (2d Cir. April 11 2014).



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shareholders whom the trustee alleged to have fraudulently inflated the debtor’s value in order to

complete the transaction. 2016 WL 3611831 at *4. The controlling shareholders moved to dismiss

the claims brought by the trustee in his capacity as the creditors’ assignee, arguing that the claims

were barred by Section 546(e). Id. at 5.

       89.     The court rejected Tribune’s preemption holding and held that the creditor claims

were not precluded by Section 546(e). Id. at *11. First, the court held that “[s]tates have

traditionally occupied the field of fraudulent transfer law, and applying the presumption against

preemption is therefore appropriate.” Id. at *7. Second, the court noted that Tribune’s reliance on

the theory that “the safe harbors were enacted to promote finality for individual investors” “find[s]

minimal support when scrutinizing the Congressional record,” and that the legislative history

demonstrates instead that “the purpose of the safe harbors is to mitigate the potential systemic risk

of certain complex financial transactions.” Id. at *8. The court stated further that it was “hard to

envision” that the claims against the controlling shareholders “would pose any sort of ‘ripple

effect’ to the broader secondary market.” Id. at 9. Third, the court noted that the plain language

of the statute, which refers only to “a trustee’s ability to bring a fraudulent conveyance action,”

“further bolstered” the argument against preemption. Id. (emphasis added). And fifth, the court

stated that in the circumstances of the case, “permitting a defendant to evade liability … vis-à-vis

the safe harbor would run counter to Congress’ policy of providing remedies for creditors who

have been defrauded by corporate insiders.” Id.. Thus, the court concluded that:

       a litigation trustee may assert state law fraudulent transfer claims in the capacity of
       a creditor-assignee when: (1) the transaction sought to be avoided poses no threat
       of ‘ripple effects’ in the relevant securities market; (2) the transferees received
       payment of non-public securities, and (3) the transferees were corporate insiders
       that allegedly acted in bad faith.

Id. at *10. The district court subsequently expressed its agreement with the bankruptcy court’s

decision, stating that it was “not convinced that a substantial ground for difference of opinion


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exists, as the preemption analysis followed well-established Third Circuit and Supreme Court law.

Physiotherapy II, 2017 WL 6524524 at *9.

         90.      All of the factors articulated by the bankruptcy court in Physiotherapy and endorsed

by the District Court in Physiotherapy II weigh in favor of permitting the Trustee and Indenture

Trustee to pursue creditor claims here. All of the creditor claims are asserted against corporate

insiders—CHS and its corporate affiliates, and Credit Suisse, who was purportedly acting as

QHC’s investment banker—and assert that these defendants acted in bad faith by creating and

propounding fraudulently inflated projections for the purpose of siphoning a dividend of $1.2

billion out of QHC and additional payments associated with that transaction. There are no public

securities involved, and no risk of “ripple effects” in the securities market. To the contrary, the

claims pose no greater threat to securities markets that any other litigation claim against CHS or

Credit Suisse would.21 Thus, barring these claims from proceeding would do nothing to further

Section 546(e)’s objective, and would run significantly counter “to Congress’ policy of providing

remedies for creditors who have been defrauded by corporate insiders.” Physiotherapy, 2016 WL

3611831 at *10. See also Development Specialists, Inc. v. Kaplan (In re Irving Tanning Co.), No.

12-01024, Doc. 43 at 7 (Bankr. D. Me. Feb. 7, 2013) (holding that claims of the liquidation trustee

(as assignee of creditor claims) were not preempted by Section 546(e) because the “reference to

trustee [in the statute] is to the statutory trustee or debtor in possession or direct successor”).

         B.       Plaintiffs Have Standing To Pursue The Complaint’s Claims In Their
                  Capacities As The Senior Noteholders’ Assignee/Representative

         91.      The CHS Defendants’ assertion that Plaintiffs may not pursue the Complaint’s



21
          The CHS Defendants’ assertion that the creditor claims “seek[] to effectively unwind a complex, multistep
spin-off transaction” is misplaced, as the only transfers that are sought to be avoided here are the Spin-Off Dividend
and related payments. In stark contrast to Tribune, Plaintiffs do not seek to avoid transfers made to public
shareholders. See Tribune, 946 F.3d at 72.



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claims in their capacities as the Senior Noteholders’ assignee and representative until the Trustee

has abandoned these claims on behalf of the QHC estate is misplaced.22 In re Wilton Armetale,

Inc., 968 F.3d 273, 284 (3d Cir. 2020), the Third Circuit made clear that a trustee may abandon a

cause of action, at which time the “‘creditor’s right to pursue’ it ‘springs back to life.’” The Third

Circuit stated further that “if the trustee wants to abandon any property during the bankruptcy, he

must do so overtly.” Id.

        92.      Unlike the case at hand, however, Armetale involved a chapter 7 proceeding in

which the trustee was charged with liquidating the Debtors’ assets pursuant to the bankruptcy

court’s oversight. Id. at 279. By contrast, here, the concept of abandonment no longer applies, as

QHC’s confirmed plan of reorganization assigned both estate and creditor claims to the Trustee,

and granted the Trustee with discretion to maximize the value of those assets for the benefit of the

Trust’s beneficiaries as he saw fit. Debtors’ Joint Prepackaged Chapter 11 Plan of Reorganization

§ IV.C.3. Towards that end, the Trustee asserted claims against Defendants on alternative bases,

in both his estate and creditor assignee capacities, in order to preserve the value of those claims to

the maximum extent possible. To the extent that the Court agrees that the Trustee may pursue

these claims in his capacity as the estate assignee, the creditor claims will be rendered a nullity.

In the event that any of the estate claims are ultimately dismissed, however, the Trustee will pursue

them (with respect to the CHS Defendants, along with the Indenture Trustee) in his capacity as the

Senior Noteholders’ assignee. Given the Plan’s assignment of estate causes of action to the

Trustee, no formal abandonment is required. To the extent the Court finds otherwise, however,

the Trustee will take whatever action is deemed necessary to effectuate the abandonment.

        C.       This Court Has Jurisdiction Over Claims Brought By Plaintiffs In Their
22
         The CHS Defendants do not assert this defense with respect to Count Twelve of the Complaint, which asserts
a claim for breach of contract for unpaid amounts due on the Senior Notes against CHS and CHS-2 as QHC’s alter
egos.



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                  Capacities As The Senior Noteholders’ Assignee/Representative

       93.        Relying only on the Third Circuit’s decision in In re Resorts Int’l, Inc., 372 F.3d

154, 169 (3d Cir. 2004), the CHS Defendants argue that the Court lacks subject matter jurisdiction

over the claims brought by Plaintiffs in their capacity as the Senior Noteholders’ assignee and

representative. But the facts considered by the Resorts court bear no resemblance to those here.

In Resorts, the Third Circuit considered whether a bankruptcy court had jurisdiction to consider a

litigation trust’s claims against PriceWaterhouse, the trust’s accounting firm, that were brought

“almost seven years after the Reorganization Plan confirmation” and arose out of conduct that

occurred post-confirmation (the professional services rendered to the trust). Id. at 159.

       94.        Here, by contrast, the contributed creditor claims relate to the Defendants’ pre-

confirmation fraudulent conduct, are alleged to have been the cause of the bankruptcy itself, and

are brought alongside estate claims that arise out of the same facts and circumstances (over which

Defendants concede the Court has jurisdiction).          Moreover, as the Debtors made clear in

connection with confirmation of the Plan, the investigation and transfer of these claims to the Trust

was a central pillar of the Plan. See Reply of Debtors To Objections To The Debtors’ Joint

Prepackaged Chapter 11 Plan of Reorganization And The Disclosure Statement Therefor (D.I.

477) (observing that “certain Holders of Senior Notes Claims negotiated for the creation of the

QHC Litigation Trust,” which was “an important consideration for those Senior Noteholders, who

sought to ensure that no claims or Causes of Action were inadvertently forfeited before the QHC

Litigation Trust had an opportunity to examine the history of the Debtors’ books and records with

respect to such claims, since the Senior Noteholders did not have the opportunity to do so

prepetition”).

       95.        Where, as here, a litigation trust is an important component of a Plan, and the trust

is tasked with investigating the claims at issue, the bankruptcy court retains “related to” jurisdiction


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over actions prosecuted by the litigation trust because they bear a “close nexus” to the bankruptcy

plan. See In re Swan Transportation Co., 596 B.R. 127, 134-35 (Bankr. D. Del. 2018) (“If the

Trust did not exist, or if it lacked the ability to properly deal with the claims, then the Debtor’s

Plan would have been untenable and possibly unconformable. Due to the necessity of the Trust

for a successful Plan, the Court finds that the dispute arising in this matter bears a ‘close nexus to

a bankruptcy plan or proceeding.’”); see also In re AstroPower, 335 B.R. 309, 324-25 (Bankr. D.

Del 2005) (holding the court had “related to” jurisdiction over post-confirmation claims that

concerned pre-petition conduct and would benefit creditors); In re LGI, Inc., 322 B.R. 95, 102

(Bankr. D.N.J. 2005), abrogated on other grounds by In re Seven Fields Dev. Corp., 505 F.3d 237

(3d Cir. 2007) (post-confirmation subject matter jurisdiction exists where action brought by trustee

is “logically linked to the debtor’s prepetition loss, and entrusted to the plaintiff via the Plan for

the benefit of creditors”). The Court therefore has jurisdiction over the claims brought by Plaintiffs

in their capacities as the Senior Noteholders’ assignee and representative, and the CHS

Defendants’ argument to the contrary should be rejected.

                                          CONCLUSION

       96.     For the forgoing reasons, Plaintiffs respectfully request that (1) the Motions be

denied in their entirety, and (2) in the event any portions of the Motions are granted, Plaintiffs be

granted leave to file an amended Complaint.




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                             PACHULSKI STANG ZIEHL & JONES LLP


                                  /s/ Laura Davis Jones
                                  Laura Davis Jones
                                  Timothy P. Cairns
                                  919 North Market Street 17th Fl.
                                  Wilmington, DE 19801
                                  Telephone: (302) 778-6401
                                  ljones@pszlaw.com
                                  tcairns@pszlaw.com

                              QUINN EMANUEL URQUHART &
                               SULLIVAN, LLP

                                  Andrew J. Rossman
                                  Deborah J. Newman
                                  Victor Noskov
                                  Jordan Harap
                                  Ben Odell
                                  51 Madison Avenue, 22nd Floor
                                  New York, New York 10010
                                  Telephone: (212) 849-7000
                                  Facsimile: (212) 849-7100
                                  andrewrossman@quinnemanuel.com
                                  deborahnewman@quinnemanuel.com
                                  victornoskov@quinnemanuel.com
                                  jordanharap@quinnemanuel.com
                                  benodell@quinnemanuel.com

                                  Counsel for Daniel H. Golden, as Litigation Trustee
                                  for the QHC Litigation Trust and Wilmington
                                  Savings Fund Society, FSB, solely in its capacity as
                                  Indenture Trustee




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